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1                           UNITED STATES DISTRICT COURT

2                                 DISTRICT OF IDAHO

3

4      UNITED STATES OF AMERICA,      )       CASE NO. 1:16-cr-00115-BLW
                                      )
5                      Plaintiff,     )       JURY TRIAL DAY 4
                                      )       PARTIAL TRANSCRIPT
6                 vs.                 )       TESTIMONY OF STEVEN CLYNE
                                      )
7      STEVEN W. CLYNE,               )
                                      )
8                      Defendant.     )
                                      )
9      ______________________________ )

10

11                          TRANSCRIPT OF PROCEEDINGS
                       BEFORE THE HONORABLE B. LYNN WINMILL
12                           THURSDAY, MARCH 16, 2017
                                   BOISE, IDAHO
13

14
       FOR THE UNITED STATES OF AMERICA
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21
       Proceedings recorded by mechanical stenography, transcript
22     produced by computer.
       ___________________________________________________
23

24                    TAMARA I. HOHENLEITNER, CSR 619, CRR
                         FEDERAL OFFICIAL COURT REPORTER
25                  550 WEST FORT STREET, BOISE, IDAHO 83724
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 2                                MARCH 16,    2017

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                                                                               3

1                               P R O C E E D I N G S

2                                   March 16, 2017

3            (Partial transcript only containing the testimony of

4             Steven Clyne from day 4 of jury trial.)

5            (Jury present.)

6                 MS. FYFFE:    I am, Your Honor.      The defense calls

7      Steven Clyne.

8                 THE COURT:    Mr. Clyne, will you step before the clerk

9      and be sworn.

10              STEVEN WAREN CLYNE, DEFENDANT'S WITNESS, SWORN

11                THE CLERK:    Please state your complete name and spell

12     your name for the record.

13                THE WITNESS:     Steven Waren Clyne, S-T-E-V-E-N,

14     W-A-R-E-N, C-L-Y-N-E.

15                THE COURT:    You may inquire of the witness.

16                MS. FYFFE:    Thank you, Your Honor.

17                               DIRECT EXAMINATION

18     BY MS. FYFFE:

19     Q.    Are you ready, Steve?     Good morning.

20     A.    Good morning.

21     Q.    We have a little bit to cover, but I wanted to touch on an

22     issue I'm sure the jury is curious about.         We have heard a lot

23     about Hi-Points.

24           Did you buy a lot of Hi-Points?

25     A.    Yes, I did.
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                                                                                4

1      Q.     Did you buy them to collect them?

2      A.     No.    I bought them to sell at a gun show.

3      Q.     Did you believe what you were doing was illegal?

4      A.     No.

5      Q.     And did you also purchase other guns to collect?

6      A.     Oh, yeah.

7      Q.     Tell us just -- where did you grow up, Steve?

8      A.     I grew up in Boise, Idaho.

9      Q.     Tell us just a little bit about that.

10     A.     Oh, I was raised by a mother and two older sisters, and we

11     lived in the salvation housing where Camel's Back Park is right

12     now.    And it was a lot of fun, a lot of kids.       We had a great

13     time.

14     Q.     Did your mom work?

15     A.     Yes.    She worked two jobs.

16     Q.     How old were you when you got your first job?

17     A.     I was 8 years old.

18     Q.     What did you do with your income?

19     A.     I swept sidewalks at Boys World for clothes.

20     Q.     So you bought clothes with your money?

21     A.     Yeah.

22     Q.     Now, did your mom remarry at some point?

23     A.     Yes.    Between 8 and 9 years old, she married a veteran of

24     World War II.      His name was Owen "Putt" Thacker.      And he liked

25     to be called "Putt" because his name was Oscar Newton, and he
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                                                                            5

1      didn't like that name.

2      Q.    Did your stepfather get you -- what did he like to do that

3      you did together?

4      A.    Yeah.    He was a very avid hunter and fisherman, and he

5      taught me everything I knew about to hunt and to fish and how to

6      clean a deer, how to carry a deer.         And, yeah, we -- great

7      times, great times.

8      Q.    Did you continue working to help support your family?

9      A.    Oh, yes, yes.    Putt was in the business of roofing, and he

10     hired me -- never paid me, but he hired me, and I loaded roofs.

11     I carried the shingles up the ladder.        That was before the lifts

12     that they have now.

13     Q.    Let's move forward a little bit.

14           Tell us where you met your wife.

15     A.    I met my wife at Boise High School.

16     Q.    How old were you?      What year?

17     A.    That was my junior year.

18     Q.    Describe your first reaction to her.

19     A.    Oh --

20                   MR. ATWOOD:    Judge, I object.

21                   THE WITNESS:    Great.

22                   THE COURT:    Counsel, just a moment.

23                   THE WITNESS:    I'm sorry.

24                   MS. FYFFE:    This won't take long, and it does tie into

25     the whole story.
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                                                                                6

1                   THE COURT:   I'll give you a little bit of leeway here.

2      But, again, it's not relevant to the proceedings, but I'll give

3      you some leeway but limited leeway.        Go ahead and proceed.

4      Q.    BY MS. FYFFE:    Tell us about your reaction to your wife.

5      A.    Yes.   We met in a play where she played a Southern belle,

6      and I fell in love with her during the play.

7      Q.    Did you get married?

8      A.    Yes, we did.    October 15, 1965, right after graduating.

9      Q.    Did you move away from Boise?

10     A.    Yes, we did.    We moved to California.

11     Q.    And why did you move to California?

12     A.    Pardon?

13     Q.    Why did you move to California?

14     A.    Oh, to find an apprentice program where I could learn a

15     trade.   I was advised that that's the best place to go.

16     Q.    And did you do so?

17     A.    Yes, I did.

18     Q.    Where did you find a job where you could learn a trade?

19     A.    Kaiser Steel in Fontana, California.        And I started out as

20     a laborer, and then I transferred into the electrical program

21     and on-the-job training and buck learning, like an apprentice

22     program.     And I eventually made crafts man.

23     Q.    Did you make some good friends there?

24     A.    Oh, yes, lots of friends.

25     Q.    Did they -- just tell us very briefly what you liked to do
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 7 of 146

                                                                                 7

1      with them.

2      A.    Okay.    Well, we liked to hunt and fish, prospect.       And then

3      we went to the gun shows.      That was my first gun show.      It was

4      called The Great Western Gun Show.        And it was in California,

5      Irvine.

6      Q.    Tell us about your reaction to the first gun show.

7      A.    Oh, they had this huge circus tent, and it was wall-to-wall

8      tables full of guns and all kinds of accessories.          And it was,

9      like, breathtaking.      Oh, my goodness.    I had never seen anything

10     like that before -- every make, model, anything you wanted to

11     see in a gun.

12     Q.    So did you start regularly attending gun shows after that?

13     A.    Oh, yes, every six months.

14     Q.    And buy anything at your first gun show?

15     A.    Yes.    Yes.   I started a Ruger collection of six guns.      The

16     single action, they called them "combos," where you could change

17     cylinders for different calibers.

18     Q.    You bought six --

19     A.    Yes.

20     Q.    -- at the first gun show?

21     A.    Yes.

22     Q.    Did you -- how long was it before you started vending at

23     gun shows?

24     A.    Oh, it took a couple years.      And then they moved it to the

25     Pomona Fairgrounds, and it was called The Great Western Gun
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                                                                               8

1      Show.   And we had -- we started out with maybe two or three

2      tables, and then it grew from there over the years.

3      Q.    What did you sell?

4      A.    Guns and accessories.     And my youngest -- my oldest son was

5      involved in history, you know, real history buff.          And we got

6      into collecting World War II para- -- you know, uniforms, hats,

7      badges, and World War II weapons.

8      Q.    So the firearms that you --

9      A.    Pardon?

10     Q.    The firearms that you sold at the gun shows back then, how

11     had you obtained them?

12     A.    Oh, we would go all over from -- and find the military guns

13     that we could trade up or down, you know, or sell for money.

14     Yeah.

15     Q.    Did you also purchase more modern weapons?

16     A.    Oh, yes.   Always had a modern weapon or two, yes.

17     Q.    What did you do with those?

18     A.    We sold them.    Well, we played with them, took them out to

19     the desert, shot them up, and then would go sell them, get

20     something different.

21     Q.    You were in the courtroom yesterday when Chris testified

22     about the shooting --

23     A.    Yes.

24     Q.    -- target shooting?

25     A.    Yes.
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                                                                              9

1      Q.    Anything you can add to that?       Did he put it pretty good?

2      A.    Yeah, he made it pretty good.

3            The thing is we would take multiple weapons out and shoot

4      them, and we would shoot at cans or targets.         And the boys would

5      shoot their particular gun that they wanted to try out, and then

6      we would go home, and I would teach them how to clean them.

7      And, you know, we did that quite often.

8      Q.    Did you ever change or dress the firearms that you sold at

9      gun shows?

10     A.    Oh, yes.   After the World War II collection got so big, we

11     traded those off.     And my son got more into the Civil War

12     reenactment, and I didn't really -- I didn't get much involved

13     in Civil War.    But when he turned 18, he got into the Civil War.

14     Q.    Now, had you become a journeyman at some point during this?

15     A.    Oh, yes, yes.    I became a journeyman about two years after

16     starting the electrical program.

17     Q.    Were you earning more money?

18     A.    Oh, yes.   There are no-nos in that paycheck.

19     Q.    Did you have other hobbies that you were able to follow

20     with --

21     A.    Yes.   The gun shows in California were only every six

22     months, so there was only two a year.        And after I would sell

23     some guns, I would have excess money.        And I got into model

24     railroading because my father-in-law had taken in a Lionel train

25     on trade.    And he gave me all the parts, and it had every
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                                                                               10

1      accessory Lionel ever made.       It was so cool.     It took a whole

2      double-car garage to make the layout.

3            And then I got into -- after a while, I went to a smaller

4      scale of train, the HO, because I was running out of room for

5      rail gauge.    And I could make a larger -- larger layout with the

6      HO.

7            And then I finally, when we had the -- we moved one

8      time --

9                   MR. ATWOOD:    Your Honor, I object.

10                  THE WITNESS:    Yeah, okay.    Sorry.

11                  THE COURT:    Let's move on.

12                  MS. FYFFE:    Another question, yes.

13     Q.    BY MS. FYFFE:     At some point, did you go into business for

14     yourself?

15     A.    Yes, yes.    I went to work as an electrical contractor in

16     California, and I brought that to Idaho with me when I moved

17     back to Idaho.

18     Q.    Did you do well at first?

19     A.    Yes, very well.

20     Q.    Did you do not as well later?

21     A.    Yes.   I had a contractor go bankrupt on me, left me holding

22     the bag for a lot of money.

23     Q.    Tell us what happened then.       Did you have to move the

24     family?

25     A.    Yes.   We moved -- we moved to Idaho -- no.        Let's see.
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                                                                              11

1      After Kaiser -- oh, I moved back to Boise.         Yeah, moved back to

2      Boise.

3      Q.    After you lost the house?

4      A.    Yes.   Oh, no, we didn't lose that house.        We sold that

5      house and went to Boise.

6      Q.    Did you at some point have a sporting goods store?

7      A.    Yes.   When we ended up in California the second time after

8      we left Boise, I had a surplus sporting goods.

9      Q.    And you had a lot of stuff then?

10     A.    Oh, yeah.    What it was was it was returned goods damaged or

11     open boxes that nobody -- like a weight set that they couldn't

12     assemble it.      So we got basketball hoops, oh, all kinds of

13     jerseys, baseball bats, baseball gloves.         You know, the whole

14     sporting.

15     Q.    Now, I know you lived a few different places.          At some

16     point, did you move back to Boise regarding an issue with June's

17     parents?

18     A.    Yes, yes.    They were getting older, and they wanted us to

19     be around, you know, to keep an eye on them and help them, which

20     we did.

21     Q.    You know, and I guess I should ask:        Are you and June still

22     married?

23     A.    Oh, yes, 51 years.

24     Q.    And did you have any children?

25     A.    Yes, we had four children.       Corey, Kendra, Jeremy, and
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                                                                               12

1      Chris.

2      Q.    And did one of your sons return back to Boise a little

3      while after you --

4      A.    Yes.   After I moved, Corey came from California.          They were

5      tired of California crimes and restrictions.

6      Q.    What did you and Corey do for --

7      A.    Oh, that's when I got into electrical contracting.          And we

8      did our own Clyne & Sons Electric -- or CFB Electric.            I'm

9      sorry.

10     Q.    Did you and Corey do anything for fun?

11     A.    Yes.   We found a -- in our gun purchases, we found a club

12     that was Cowboy Action Shooting.        And we slept and drank Cowboy

13     Action Shooting for a while.

14     Q.    Can you tell me about the -- the firearms and accessories

15     that went along with the Cowboy Action Shooting?

16     A.    Okay, well, the best thing was you had to dress period.

17     You had to have two pistols in a decent gun belt.          You had to

18     have a 30-30 rifle, or you could use a .44 magnum or a .38.            But

19     it had to be a lever action 94 type.        And then you had to have a

20     shotgun, which would be a double barrel or -- in the 1890s, you

21     could have a Model 12 pump, Winchester pump.

22     Q.    Just a general figure, how much did you end up spending on

23     Cowboy Action Shooting?

24     A.    With all the clothes and the holsters and the guns and --

25     oh, my, I wouldn't even -- it was a lot of money.
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                                                                                13

1      Q.     And, Steve, I need to ask you for the court reporter -- I

2      think we keep starting to talk over each other a little bit.

3      A.     Oh, I'm sorry.

4      Q.     Well, it's both of us.     So we'll be more careful.      Just

5      make sure you let me finish my question.

6      A.     Okay.

7      Q.     Now, we didn't -- you talked about going to the gun shows,

8      the Great Western.

9             And was there a time when you weren't going to gun shows

10     for a period?

11     A.     There were periods of time when we didn't go to gun shows,

12     yes.

13     Q.     So when you and Corey were doing the Cowboy Action Shooting

14     at first, had you got -- were you going to gun shows then?

15     A.     Oh, yes.

16     Q.     Did you get some of your cowboy action gear there?

17     A.     Oh, yes, yes.

18     Q.     And then how did the electrician business do?

19     A.     The electrician business did quite well in Boise.         I was

20     doing really good.      And then I had a major operation and

21     couldn't get on my knees anymore.

22     Q.     Did you guys close the business at some point?

23     A.     Yes.    I had to close it then because I could not be

24     involved.      And Corey was not a journeyman; he was still an

25     apprentice, and he couldn't work on his own.
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                                                                                14

1      Q.    You mentioned a surgery.

2      A.    Yes.   Both knees were replaced at age 55.

3      Q.    How did you pay for that?

4      A.    Luckily, my wife was working.       And then I had to pay a

5      $3500 co-pay, the part that the insurance didn't cover.          And I

6      sold a lot of guns to help get me through the -- that part of my

7      life.

8      Q.    What guns were you selling?

9      A.    Oh, all -- most all of them.

10     Q.    Can you be more specific?

11     A.    Every cowboy gun I had, and then a lot of my modern weapons

12     I sold.

13     Q.    Were those weapons you had purchased over time?

14     A.    Oh, yes, yes.

15     Q.    And then your father-in-law, did he pass at some point?

16     A.    Yes.   My father-in-law did pass away.       And, yeah, that

17     was -- that was a sad time.       And he left me a lot of guns and

18     paraphernalia for shooting.

19     Q.    What did you do with that collection?

20     A.    I kept most of it.     I sold some of it because they were

21     replicas of the same calibers.       And he had -- he was a real avid

22     hunter, and all of his guns were very custom and really nice.

23     And the only drawback was they were military actions that he

24     built from.    And that didn't make them too desirable, but they

25     were good-looking and the right caliber, so people did buy them,
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                                                                              15

1      yes.

2      Q.     Were you enjoying the gun shows?

3      A.     Oh, loved gun shows.     Yeah, because when we moved to Boise,

4      there would be a gun show once a month.

5      Q.     Did you go once a month back then?

6      A.     Yes.    I sold a lot of my father-in-law's accessories and

7      guns at the gun show in Boise.

8      Q.     Did you at some point get an idea for how you wanted to

9      fund your retirement?

10     A.     Yes.    I seriously was thinking about gun shows and

11     traveling the United States and seeing all of the United States

12     because we haven't been to very many states, and that was my

13     wife's desire.      So I told her we could do that by going to gun

14     shows.

15     Q.     Was she as enthusiastic as you?

16     A.     She didn't like the idea.

17     Q.     Now, when you were thinking of traveling and selling wares,

18     I mean, what were you primarily thinking of selling when --

19     A.     Yeah.    I picked out different things to sell.       I did a lot

20     of soft goods, a lot of backpacks.        I had targets.     I had

21     knives.       I had scopes.   I had all kinds of accessories for the

22     ARs and stocks, different stocks and ghillie suits, a lot of

23     survival gear, just a lot of different things that I was going

24     to -- I was not going to take guns around the United States.           I

25     was just going to try that, but that didn't work out, either.
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                                                                          16

1      Q.    Did you believe you would be able to sell gun -- firearms

2      at gun shows in the future?

3      A.    I thought about it, yes.

4      Q.    Was there a reason you thought you would not be able to?

5      A.    We were worried -- President Obama was passing a lot of

6      executive orders that were kind of cutting into gun ownership,

7      and we were pretty well thinking about getting out of the gun

8      shows, guns.

9      Q.    You talked about soft goods.       What are soft goods?

10     A.    Oh, those were the backpacks, the ghillie suits, even the

11     flashlight scopes.      Anything that didn't actually have a gun

12     attached to it.

13     Q.    Did you -- where did you get the money to buy all this?

14     A.    My wife inherited $125,000, and I talked her into letting

15     me spend some of it, and I ended up spending all of it.

16     Q.    How much did you spend on soft goods?

17     A.    About $80,000.

18     Q.    Were you able to sell the soft goods at gun shows?

19     A.    Not as well as I thought I would.

20     Q.    Now, at some point, did you -- did you become aware you

21     needed to get a seller's permit?

22     A.    Yes.   After sending in the forms for state sales tax, the

23     sales tax commission called me and told me that I needed a sales

24     tax number because I went to more than two gun shows a year.

25     Q.    So what did you do?
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                                                                                    17

1      A.    I got a resale number.

2      Q.    Had you also formed a --

3      A.    Oh, yes.    The resale number needed a name for the business,

4      so I called it "Steve's Store."        And I was hoping to be able to

5      buy the soft goods on wholesale, but I found out later that it

6      was better to go to the sporting goods stores and like Big 5 and

7      Target and even Walmart, because it was cheaper than wholesale.

8      Q.    Move that mic just a little bit away from you.             There you

9      go.

10     A.    Too close?    Okay.

11     Q.    During this period, did you also look into getting a

12     federal firearms license?

13     A.    Yes, I did.

14     Q.    Were you interested in getting one?

15     A.    Yes, I was.    I was thinking I could buy guns wholesale, and

16     that would be great for reselling guns.         That was back in -- oh,

17     it might have been '12 or '11 or -- 2011 or 2012.

18     Q.    You actually -- did you actually obtain the application?

19     A.    Yes.   I sent away for the application with some money that

20     they would help me fill it out and get it sent in.           And I got

21     the application and started to fill it out.          The first thing it

22     said was be sure you read the whole thing before you start

23     filling it out.

24     Q.    Steve, go ahead and -- I'm going to ask you another

25     question.
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                                                                                18

1      A.    Okay.

2      Q.    I would like to show a document to the witness that has not

3      been admitted.     I'm having the disappearing screen.

4            Steve, do you recognize that document in front of you?

5      A.    Yes, I do.

6      Q.    What is that document?

7      A.    It's a U.S. Department of Justice Bureau of Alcohol,

8      Tobacco, Firearms and Explosives application for a federal

9      firearms license.

10     Q.    Is that the same application that you obtained?

11     A.    Yes, yes.

12     Q.    And did you begin to fill it out?

13     A.    I -- I was reading the whole thing first.         I was a little

14     confused because it asks for store hours and --

15     Q.    I'm going to go ahead and stop you --

16     A.    Okay.   Go ahead.

17     Q.    -- for just a second, and we'll get there.

18     A.    Okay.

19     Q.    I'm going to kind of flip through so you can see the whole

20     thing.

21     A.    Yes.

22     Q.    And I want you to look and see if this is a true and

23     accurate representation of the application that you obtained and

24     read through when you were investigating being an FFL.

25     A.    That is correct.
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                                                                                19

1      Q.      Is that a true and accurate copy of the federal --

2      A.      Yes.

3      Q.      Is that a true and accurate copy of the federal firearms

4      license application that you obtained?

5      A.      Yes.

6                     MS. FYFFE:    Move to admit Defense Exhibit 2001.

7                     THE COURT:    Any objection?

8                     MR. ATWOOD:   No, Your Honor.

9                     THE COURT:    2001 will be admitted and published to the

10     jury.

11             (Defendant's Exhibit 2001 admitted.)

12                    THE COURT:    Counsel, give me a moment.   I'm having a

13     few issues here.      Now, let me note for the record that the

14     exhibit now is being displayed to the jury.

15             Go ahead and proceed.

16     Q.      BY MS. FYFFE:   You started just a moment ago to talk about

17     being confused about something.

18             Can you -- do you see what you were referring to there on

19     the form?

20     A.      Yes.   It's the No. 13, line 13.

21     Q.      If you touch that screen, I think it will make a checkmark

22     there.

23                    THE COURT:    If you tap on the screen, it should leave

24     an arrow; otherwise, you just press on the screen, and you will

25     be able to draw on it.
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                                                                              20

1                     THE WITNESS:    There it is.

2                     THE COURT:    Mr. Metcalf, could you maybe assist?

3      There.

4      Q.     BY MS. FYFFE:     I think that's good enough.

5      A.     Okay.

6      Q.     And what were you saying?      Did you say that spot confused

7      you?

8      A.     Yeah.    In 13, it says:    "Hours of operation of applicant's

9      business must be completed."

10     Q.     Now, how were you intending to sell firearms?

11     A.     Well, I was only going to go to gun shows, and I wouldn't

12     have a store.        I only did gun shows once a month in Boise.

13     Q.     Was there another question that caught your attention?

14     A.     Yes.

15     Q.     Do you see it there?

16     A.     18.    Yes.   18A.

17     Q.     Could you circle that one.

18     A.     (Witness complied.)

19     Q.     And then read it aloud, please.

20     A.     Okay.    "Do you intend to sell firearms only at a gun show?"

21     And I marked "yes."         And then if you marked yes, then you do not

22     submit application.

23     Q.     What conclusions -- or did you draw a conclusion from that?

24     A.     Well, if you were going to gun shows, then you have -- you

25     don't need an FFL.
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 21 of 146

                                                                               21

1      Q.    Did you object to getting an FFL?

2      A.    Did I object to getting it?

3      Q.    Were you -- had you wanted one or not wanted one?

4      A.    Oh, I did want one, yes.      I was considering a

5      brick-and-mortar, and I was discouraged by my wife, and I was

6      working for a living.

7      Q.    Where were you working then?

8      A.    At that time, I was with the Boise -- excuse me -- Meridian

9      School District bus driver.

10     Q.    Would you have wanted one to sell just at gun shows?        I'm

11     sorry.    I should have been -- would you have wanted an FFL to

12     sell just at gun shows?

13     A.    Well, I wanted the FFL so I could get guns from gun dealers

14     at a discount.

15     Q.    Would have it bothered you to do background checks and all

16     that?

17     A.    Oh, no, no.    It wouldn't have bothered me.       But without

18     an -- oh, never mind.

19     Q.    I'm closing out that exhibit.

20           Now, you had said that you had purchased -- spent $80,000

21     on soft goods?

22     A.    Yes.

23     Q.    Those weren't selling very well?

24     A.    Well, some items were -- very high-dollar items were not

25     selling.
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 22 of 146

                                                                            22

1            I used to say that everybody at a gun show has $20 in their

2      pocket, and I brought the knives and the smaller things in so

3      that they could buy something at the gun show to take home.

4      Q.    So what role would firearms for sale have in selling soft

5      goods?

6      A.    Mainly the firearms would bring the people to the tables,

7      and then they would continue walking around my tables and

8      looking at all my soft wear and my accessories for guns and

9      survival and whatnot.

10     Q.    You also sold a lot of firearms?

11     A.    Yes.

12     Q.    Now, you had a merchant account for credit cards?

13     A.    Yes, I did.

14     Q.    What was the fee on those?

15     A.    They were at least 4 percent, and then there was a service

16     charge by the provider.

17     Q.    And then did you have to spend money to rent the tables?

18     A.    Yes.   Yeah.   Boise gun show, the Lewis and Clark traders

19     were $65 a table.

20     Q.    Now, did you consider the firearms part of Steve's Store?

21     A.    No.    I considered my guns private-party sale because I did

22     not have an FFL license.       And I was understanding if you're a

23     private party, you could sell your guns.

24     Q.    So what was Steve's Store?

25     A.    Steve's Store was the accessories, mainly because that's
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 23 of 146

                                                                              23

1      what I had to name it to get the resale tax number.

2      Q.    Did you use the credit card associated with Steve's Store

3      for firearm sales?

4      A.    Yes, I did.

5      Q.    Was Steve's Store making money?

6      A.    No, it was not.     I was trying to recover my wife's

7      $125,000, and it wasn't working out well for me.

8      Q.    And you said you had spent 80,000 on soft goods?

9      A.    Yes.

10     Q.    What did you spend the other rest of it on?

11     A.    Guns.

12     Q.    Let's talk about -- how did you get all the soft goods and

13     firearms to the gun shows?

14     A.    I had a job trailer left over from my electrical days, and

15     I had a Suburban four-wheel-drive to pull the trailer.           It would

16     get heavy sometimes.

17     Q.    I'm showing a document to the witness that has not been

18     admitted.

19           Do you recognize what's pictured in that?

20     A.    Yes.    That's my 6-by-12 trailer.

21     Q.    What's inside the trailer?       I know you can't see all of it.

22     A.    All my gun show supplies or wares.

23     Q.    Is that a true and accurate copy of -- true and accurate

24     representation of your trailer?

25     A.    Yes, it is.
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 24 of 146

                                                                              24

1                     MS. FYFFE:    Defense moves to admit Defendant's Exhibit

2      2003.

3                     THE COURT:    Any objection?

4                     MR. ATWOOD:   No objection.

5                     THE COURT:    2003 will be admitted and published to the

6      jury.

7              (Defendant's Exhibit 2003 admitted.)

8      Q.      BY MS. FYFFE:     Steve, I'm going to show you another photo

9      that has not been admitted.

10             Do you recognize what's pictured there in front of you?

11     A.      Yes, I do.

12     Q.      What is that?

13     A.      That is looking into my trailer from the double doors at

14     the gun show supplies, products.

15     Q.      And is this how it appeared after you and your family had

16     loaded it?

17     A.      No.    No.   It was a lot more neater.   But, evidently, on the

18     trip back from the gun show, it got dislodged -- some of it got

19     dislodged.

20     Q.      And in the trailer, is that the -- is that where you kept

21     all of your gun show wares and equipment?

22     A.      Yes.

23     Q.      Is that the trailer that was searched by the ATF as

24     discussed yesterday?

25     A.      That's correct, yes.
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 25 of 146

                                                                              25

1      Q.      And that's a true and accurate copy?

2      A.      Yes.

3                     MS. FYFFE:    Move to admit Defendant's Exhibit 2004.

4                     THE COURT:    Any objection?

5                     MR. ATWOOD:   No objection.

6                     THE COURT:    2004 will be admitted and published to the

7      jury.

8              (Defendant's Exhibit 2004 admitted.)

9      Q.      BY MS. FYFFE:   Now, Steve, looking in there, where -- where

10     are the firearms?

11     A.      The firearms were usually loaded first in the front of the

12     trailer.

13     Q.      How much space in the trailer did they take up?

14     A.      Oh, I don't know.     It was usually just two stacks --

15     Q.      And then --

16     A.      -- on top of flat boxes.

17     Q.      Mm-hmm.   What's pictured right there in the front with the

18     red, white, and blue?

19     A.      That's called a range cart.     You take that -- especially

20     for Cowboy Action Shooting, that would hold your guns and your

21     ammo and your repair kit for doing the different stages in

22     Cowboy Action Shooting.

23     Q.      Was that for sale at the gun show?

24     A.      Yes, it was.    That's the last one.

25     Q.      You had had others?
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 26 of 146

                                                                              26

1      A.    Pardon?

2      Q.    You had had others?     You had other range carts earlier?

3      A.    Oh, yeah, yeah.     Several.

4      Q.    Did you sell them?

5      A.    Yes, I did.    Mine was larger, but it was the red, white,

6      and blue.

7      Q.    I'm sorry.    I'm --

8      A.    Excuse me?

9      Q.    That one hasn't been admitted.       I'm sorry.    It actually

10     worked the first time I --

11                 THE COURT:    Counsel, sorry.     I'm trying to take notes,

12     so make sure we don't put anything up when the jury --

13                 MS. FYFFE:    I, frankly, was surprised it opened right

14     on the right screen, so maybe I've made progress.

15                 THE COURT:    All right.    Go ahead.

16     Q.    BY MS. FYFFE:     Can you see what's there in front of you,

17     Steve?

18     A.    Yes, I do.

19     Q.    Can you describe it to me.

20     A.    It looks like my products are out of the trailer, and I'm

21     not sure if they are in the street or on a sidewalk.

22     Q.    Was that during the search of the trailer?

23     A.    Pardon?

24     Q.    Was this during the search of the trailer?

25     A.    I believe it was, yes.
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 27 of 146

                                                                               27

1              I never got to see the search of the trailer.

2      Q.      Do you recognize those items as being in the trailer?

3      A.      Yes, I do.

4      Q.      Is it a true and accurate representation of the items in

5      the trailer?

6      A.      Yes, they are.

7                    MS. FYFFE:    Move to admit Defendant's Exhibit 2005.

8                    THE COURT:    Any objection?

9                    MR. ATWOOD:   No objection.

10                   THE COURT:    2005 will be admitted and published to the

11     jury.

12             (Defendant's Exhibit 2005 admitted.)

13     Q.      BY MS. FYFFE:    I don't know if there is anything special in

14     that one you want to point out.

15     A.      No.

16     Q.      Just gun show wares?

17     A.      Tubs of gun show wares and the range cart again.         It looks

18     like there is some ammunition down in the bottom part of -- the

19     right-hand bottom corner of the picture.

20                   THE COURT:    Counsel, is there any -- Counsel, you need

21     to make sure I turn off the projector before you bring something

22     else up.

23             Go ahead.

24                   MS. FYFFE:    Thank you, Judge.

25     Q.      BY MS. FYFFE:    Steve, what's there in front of you now?      Do
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 28 of 146

                                                                              28

1      you recognize that?

2      A.    Yeah.    I recognize the tubs with my merchandise in them on

3      the street.

4      Q.    Is that a true and correct representation of the trailer's

5      contents?

6      A.    Yes, that is.

7                    MS. FYFFE:    Move to admit Defendant's Exhibit 2007.

8                    THE COURT:    Any objection?

9                    MR. ATWOOD:   No objection.

10                   THE COURT:    2007 will be admitted and is now published

11     to the jury.

12           (Defendant's Exhibit 2007 admitted.)

13     Q.    BY MS. FYFFE:     Can you just generally -- like, what are

14     those bins in the front?       Could you tell us what's in those,

15     just generally?

16     A.    Okay.    Generally, that is just accessories.       Could be

17     tablecloths for covering the tables.         Yeah, just -- it's just a

18     general -- knives, flashlights, scopes, some soft goods, like

19     backpacks and slings -- oh, gosh -- targets.          Just a general

20     pile of goodies.

21     Q.    Is this -- are these the materials that would be set up at

22     the gun shows?

23     A.    Yes, yes, they would be set up.

24     Q.    Is this the Steve's Store side of it?

25     A.    That's the Steve's Store side of it; yes, it is.
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 29 of 146

                                                                              29

1      Q.      Okay.    We could take that exhibit down, Your Honor.

2              Do you recognize that photo?

3      A.      Yes, I do.

4      Q.      Can you tell us what it is?

5      A.      It looks like my trailer reloaded.

6      Q.      Did you reload it?

7      A.      No, I did not; the ATF did.

8      Q.      Is that a true and accurate representation of what it

9      appeared -- how it looked after it was reloaded?

10     A.      I believe so, yes.

11                     MS. FYFFE:    Move to admit Defense Exhibit 2008.

12                     THE COURT:    Any objection?

13                     MR. ATWOOD:   No objection.

14                     THE COURT:    2008 will be admitted and published to the

15     jury.

16             (Defendant's Exhibit 2008 admitted.)

17                     MS. FYFFE:    I'll close that out.

18             The witness is being shown Government's Exhibit 1108, which

19     has been previously admitted and can be displayed to the jury.

20                     THE COURT:    Yes, it is being displayed to the jury

21     now.

22     Q.      BY MS. FYFFE:    Can you read that on that screen, Steve?

23     A.      I can make out a little bit, yes.

24     Q.      Do you recall discussing this exhibit with me?

25     A.      Yes, I do.
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 30 of 146

                                                                             30

1      Q.     Are you able to make out the makes and models and dates

2      enough to --

3      A.     I can tell the dates and where I bought, the store, and the

4      manufacturer, of course, yeah.

5      Q.     Okay.    Now, you had discussed an inheritance.

6      A.     Mm-hmm.

7      Q.     And a portion of that inheritance was spent on firearms?

8      A.     Correct.

9      Q.     When did those purchases begin?

10     A.     Well, some of this was purchased before the inheritance,

11     but most of it was after the inheritance in 2012.

12     Q.     In looking at that first page, are those firearms you

13     bought for yourself to use or as gifts primarily?

14     A.     Most were, yes.

15     Q.     Do you see any there that you bought for a different

16     reason?

17     A.     Yes.    I bought some just for the gun show.

18     Q.     Just to sell?

19     A.     Yes.

20     Q.     Did you understand that to be illegal?

21     A.     No.    It was -- I did not understand that was illegal.   No

22     way.

23     Q.     On that second page, if you could look through those

24     firearms and tell me if those are some you -- for what purpose

25     you purchased those.
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 31 of 146

                                                                            31

1      A.    Okay.   I purchased a lot of these to try out for myself and

2      with my sons and my grandsons and granddaughters and my wife and

3      my daughter-in-laws.      And we were disappointed in the Smith &

4      Wesson M&P15.     It did not have a bolt-closing device, and the

5      gun got dirty; the bolt wouldn't close.

6            A lot of things we were testing.        The .22s were for my

7      little guys and my granddaughters.        And then we tried the

8      Bushmaster; wasn't really impressed with it.          And then the

9      Hi-Points to try out, and then we ended up selling those right

10     away.

11     Q.    Let me stop you there.      You mentioned "little guys" and

12     "granddaughters."     Can you tell us a bit about who that is.

13     A.    Yes, my grandsons.     I have got four grandsons.

14     Q.    So who lives here in town in terms of your sons?

15     A.    Oh, Jeremy lived here with his two boys and his daughter;

16     and Corey lived here with his two daughters.

17     Q.    So how many grandkids do you have?

18     A.    Total is ten.

19     Q.    Are there some that are kind of married into the family,

20     Corey's wife?

21     A.    Well, yes.    Well, Corey ended up with ten grandchildren of

22     his own by marriage, and we adopted them as great-grandparents.

23     Q.    You spend time with them?

24     A.    Oh, a little bit.

25     Q.    You buys gifts for them?
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 32 of 146

                                                                               32

1      A.    Yes, lots of gifts.

2      Q.    How many of the grandkids like to shoot?

3      A.    Well, all of -- all of my son's grandkids and even my

4      daughter's children -- excuse me -- children love to shoot.

5      They love to shoot.

6            My oldest granddaughter is Kendra, and she loves shooting

7      the .22s.    And then my oldest grandson, Dallyn, he really liked

8      to shoot.

9      Q.    Did I understand that a lot or most of these firearms were

10     purchased in that context, shooting with the kids?

11     A.    Yeah, most of them are.      You can tell some of the calibers

12     that are the same were some that we were -- we got on sale.         Not

13     all of them maybe got shot, but most of them did, yes.

14     Q.    I have moved on to the next page.

15           Are those guns you purchased?

16     A.    Yes.

17     Q.    Why did you purchase those guns?

18     A.    Well, there's -- yeah.      Some were for the gun show.    Some

19     of them were gifts.      Some were for myself.     And wherever I would

20     get in a financial bind, I would sell them until I got green

21     again.

22     Q.    Did -- by looking at the dates here, was this after you had

23     got your wife's inheritance?

24     A.    Oh, yes.    Yes, definitely.

25     Q.    So it sounds like this page was a mixture of gun show guns
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 33 of 146

                                                                                  33

1      and guns for yourself, or did I misunderstand?

2      A.    Oh, yeah.      Yeah, gifts, guns for myself, and guns for the

3      gun show.     Yes.

4      Q.    Are there more of one type or another on this page?

5      A.    Yes, there are.      There is more than one type.

6      Q.    I mean, is it mostly ones that were for you, mostly ones

7      for the gun show; or is it kind of even-Steven?

8      A.    Well, there were several that were for me and gifts, and a

9      lot of them were for the gun show.

10     Q.    Okay.   How about that page?

11     A.    Okay.

12     Q.    Now, these are the Hi-Points.

13     A.    Yeah, these are the Hi-Points.       And some were bought for

14     the gun show, yes.       They were bought for the gun show.      I

15     believe the Mossberg 20 was for my grandson, a gift for my

16     grandson.

17     Q.    Now, you said you had purchased some Hi-Points to sell at

18     the gun show?

19     A.    Yes.

20     Q.    How did they sell?

21     A.    Like hotcakes.      They sold real -- those guns sold the first

22     part of the gun show every -- every weekend of the month.            You

23     know, the month that we would go to the gun show, those would be

24     the first guns to go.

25           And it got to the point where I would bring 10 or 12 in.
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 34 of 146

                                                                             34

1      And just setting up on Friday, other gun show vendors would come

2      and buy them from me because they wanted them on their table and

3      not on mine because a lot of people gathered around my table for

4      the Hi-Points.

5      Q.     Were they --

6      A.     We made them famous.

7      Q.     Were they a draw to your table?

8      A.     Yes, they were.    Yes, they were.     The lower-income people,

9      you know, could buy that gun for protection or whatever they

10     wanted it for and --

11     Q.     Let me ask you that.     Why do you think they were popular?

12     A.     Being that they were inexpensive, they are a very well-made

13     gun, and they do have a lifetime warranty.         So if you did

14     anything to break it, no questions asked, they would fix it for

15     you.

16     Q.     Were the smaller calibers popular with any particular

17     group?

18     A.     Well, the ladies liked the lower calibers because they

19     didn't kick as bad.      And the guns were a little bit heavier than

20     most, and it helped on the recoil.        Whereas if you shot a .44

21     magnum, your arm would be behind your head when you got through

22     pulling the trigger.

23     Q.     Did you -- you continued buying the Hi-Points?

24     A.     Oh, yes.

25     Q.     You marked them up a little?
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 35 of 146

                                                                               35

1      A.    I tried to, yes.

2      Q.    What was the main purpose for putting the Hi-Points on the

3      table?

4      A.    To draw -- to draw people to the table.

5      Q.    And you bought more because -- why did you buy more?

6      A.    Because they were selling well.

7      Q.    And so looking at this page, all these Hi-Points, that's

8      that scenario you're describing?

9      A.    Correct.

10           And then you have to remember the -- or I need to tell you:

11     The Hi-Points came in different models, makes, and colors.          And

12     it was really kind of cool to see what they were going to come

13     up with, the next gun model.

14     Q.    Did you like the Hi-Point?

15     A.    I did.   I liked them.     I thought -- I thought they would be

16     a perfect survival setup, because the rifle and the pistol in

17     the .45 caliber take the same magazines.         And it's small, you

18     know.    They are heavy, but they are small.       And, you know, the

19     rifle would even fit in a decent backpack.

20     Q.    Did you sell a lot of survival gear?

21     A.    Yes, lots of survival gear.       Yes.

22     Q.    Did you -- were your customers survivalists to any degree?

23     A.    Oh, I'm sure there were several that -- yes.         Yes, there

24     were.

25     Q.    Looking at that next page, were those gun show guns?
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 36 of 146

                                                                               36

1      A.    Yes, they are gun show guns.       Mm-hmm.

2      Q.    The next page?

3      A.    Well, those Savages on the top, the .22, those were for my

4      grandkids.    They were of an AR type.

5      Q.    And which were those again?

6      A.    The Savage .22s, long rifles.

7      Q.    And the remainder were?

8      A.    They ended up being gun show guns, yes, most of them.

9      Q.    Now, when you say "ended up being gun show guns," what does

10     that mean?

11     A.    Well, after I play with them, twirl -- shoot them, clean

12     them all up, and take them to the gun show because of

13     situations, financial situations.

14     Q.    Did you do that -- did you dress up every gun?

15     A.    Mostly, yes.    I had several that I dressed up that I didn't

16     really want to sell, but I just wanted to show how the

17     accessories fit on the gun.

18     Q.    Tell me a little bit more about that.        Were there guns on

19     the table you didn't want to sell?

20     A.    Oh, yes.

21     Q.    Can you describe those, which --

22     A.    The .44 magnum that had the engraving, that was one that I

23     did not want to sell.      The -- there's so many.      Both the Sig

24     rifle and the Sig pistol I wanted to keep, and I marked them up

25     so they wouldn't sell.      So it would appease my wife if they were
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 37 of 146

                                                                            37

1      on the table, but then I didn't want to sell them.

2            And people at the gun show are pretty smart about prices,

3      and they looked at me, and I'd just smile.         They knew -- I think

4      they got a hint of what I was trying to do.          But, yeah,

5      that's -- and then -- and then like on the Hi-Points, there is

6      even a lug for a flashlight or a laser sight system on the -- in

7      front of the trigger.      All your AR type have rails, what they

8      call rails on the forearm, which you can attach several

9      attachments.     I had, yeah, lots of stuff.

10     Q.    Dressing up a gun, are you talking about putting the

11     accessories on it?

12     A.    Yes.

13     Q.    Was that what you were just describing?

14     A.    Yes.

15     Q.    Do you like doing that?

16     A.    Oh, I loved it.     My goal was to put as many accessories on

17     a gun as you could possibly put on one.

18     Q.    You couldn't have put accessories on all these guns?

19     A.    Not on all of them, no.

20     Q.    How did you pick ones to put accessories on?

21     A.    I would dress up the Hi-Points.       And then I had extra mags

22     for those with a laser sight.       And then I had all of the AR

23     types.    We would put fore grips, tripod grips, change even the

24     stocks to a different color, flashlights, knives, scopes,

25     laser-type devices for aiming, and then usually a really cool
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 38 of 146

                                                                            38

1      scabbard or sling.      And then that was pretty dressed up.

2      Q.    The firearms on that page, were those you bought for the

3      gun show?

4      A.    Yeah.    They were in -- they did end up at the gun show.

5      But most -- let's see.       Yeah, they were mostly for the gun show,

6      yeah.

7            Anytime I bought a gun, I knew I could sell it at the gun

8      show.

9      Q.    Now, is there -- there is firearms that you purchased

10     thinking you might sell them at a gun show --

11                   MR. ATWOOD:   Objection.   Leading.

12                   THE COURT:    Sustained.   Let's let the witness testify.

13     Q.    BY MS. FYFFE:     Were there guns --

14     A.    Yes, there were guns.

15     Q.    Let me finish.

16     A.    Okay.

17     Q.    Were there guns that you purchased -- that you purchased

18     thinking you might sell them at the gun show?

19     A.    Correct.

20     Q.    Were there guns that you purchased knowing that you

21     intended to sell them at the gun show?

22     A.    Correct.

23     Q.    Which type of these?

24     A.    Mostly, like -- well, the .22s and the 12-gauges shotguns,

25     some of the AR types were purchased to play with and to shoot.
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                                                                             39

1      Multiple shooters could have a gun of their own.          Then we would

2      clean them up and take them to the gun show.

3      Q.    What about this page?

4      A.    Looks like there is a lot of Hi-Points.         And those

5      Chiappa -- I always called it "Chippewa," but those were

6      for -- those were a 1911.       They looked just like a miniature

7      1911 .45, but they were .22 long rifles.         I gave one to

8      my -- Jeremy's oldest grandson and one to my grandson, the

9      oldest grandson of Corey -- or Chris.

10           And then the Hi-Points, of course, were for the gun show.

11     Q.    The Hi-Points, Steve, are those what you're saying where

12     you bought them knowing you were going to sell them at the gun

13     show?

14     A.    Well, like I said, I think they are a great survival

15     weapon.    They are not expensive.      If you'll notice, a lot of

16     them are rifles.     And like I said, that's a compact rifle.      It's

17     really a neat little gun.       Again, they had the lifetime

18     warranty.

19           Yeah.   That 1911 Expert, that was definitely an

20     experimental gun to see how it shot.

21           Yeah.   And pretty much the rest were -- I loved those Rock

22     Island .45s, but they did go to the gun show, yes.

23     Q.    Had you wanted to keep them?

24     A.    I would have loved to keep one of each; but, financially, I

25     couldn't do it.
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                                                                                40

1      Q.    Is it more of the same, this page?        Are there ones that are

2      gifts as opposed to guns for the gun shows?

3      A.    Well, like I -- let's see.       The Rock Island shotgun was to

4      be a gift, but then financial stress made me -- I had to sell

5      it.

6            Oh, yeah, they were for the gun show.        There were gifts,

7      but I can't -- I can't -- I can't read them fast -- the 20-gauge

8      was for my grandson.      I think we already covered that.       I'm not

9      sure.

10     Q.    This page --

11     A.    That's pretty much it, yeah.

12     Q.    Were there gifts on this page or guns that you had hoped to

13     keep?

14     A.    What guns did I hope to keep?

15     Q.    Are there guns listed here that you hoped to keep or as

16     gifts, or were these just gun show --

17     A.    Yes.   The Taurus Judge, I wanted to keep that, definitely.

18     The other Judge was -- there were two different kinds.           There

19     was one that had 2-3/4-inch shells could be used in it, and that

20     was called a pistol round by the manufacturer of the 410 shotgun

21     shell.

22           And then there was another Taurus that was a 3-inch, so you

23     could use the full 3-inch magnum 410 shell.          And those I wanted

24     to keep.     Again, financially, I couldn't.

25     Q.    Others you purchased for the gun show?
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                                                                                 41

1      A.    Pardon?

2      Q.    Were the others you purchased for the gun show?

3      A.    Yes.    Yeah, pretty much so.

4      Q.    Here?

5      A.    Yeah.    A few of those .45s were very interesting.        The

6      Remingtons were a good -- a good price and a good gun, and I did

7      want to keep one of those.       And I did want to keep one of the

8      Paras and the -- let's see.       And then I did keep one of the

9      synthetic Remington .308s for hunting.         I still have that one.

10           Yep, they ended up at the gun show, some of them -- most of

11     them.

12     Q.    And this page?

13     A.    This page?

14     Q.    Same question.     Ones that you purchased as gifts or that

15     you wanted to keep versus those you bought to sell at the gun

16     show?

17     A.    Yeah.    The 500 12-gauge Mossberg I wanted to keep.

18     The -- oh, the Rock River LR15, those were excellent.            I did

19     want to keep that one, but it did sell.

20           I would take them to the gun show.        And if they would sell,

21     okay; but if they didn't, I wanted to keep them.

22           Here again, there is a Taurus that I wanted to keep.          The

23     Remington 1100, that's the one I got for my -- Jeremy's oldest

24     son for hunting.

25     Q.    Which one are you referring to, Steve?
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 42 of 146

                                                                               42

1      A.    The Remington 1100, 20-gauge.

2            Let's see.    Is there other gifts?      Yeah, that would

3      probably be it.     The rest were for gun shows, or they ended up

4      there.

5      Q.    And this page?

6      A.    The Ranch rifles I bought so that I could accessorize them

7      with new furniture and different sighting systems, but they were

8      for the gun show.      And most of them were for the gun show now on

9      this.

10     Q.    As time went on, were there more or less for the gun show?

11     A.    There were getting to be a lot less for the gun show.

12     Q.    This page?

13     A.    Pretty much the gun show.

14     Q.    All gun show?

15     A.    Well, they ended up at the gun show.        Let's see.     The Ruger

16     .22 long rifle was for a grandson.        I think I did have two of

17     those for my different grandsons.        Let's see.    And I think they

18     still have them.

19           And I did buy two ARs which were on the floor that Chris

20     held up and said they were gifts.        Those were the guns that I

21     was going to give them for Christmas in 2015.

22           The rest are probably pretty much gun show, yes, they are.

23     They are gun show.

24     Q.    And just a couple on that page.

25     A.    Yes.
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                                                                             43

1      Q.    Steve?

2      A.    Yes.

3      Q.    Do you like to shop for guns?

4      A.    Oh, I love them.     They're a work of art.

5      Q.    But specifically do you like to go shopping?

6      A.    Oh, yeah.    I love to look at them, handle them, talk to the

7      dealers about them, get their opinions.         A lot of fun.

8      Q.    How are you when you have a lot of cash in hand?

9      A.    I pretty well spend it.

10     Q.    Has this caused you trouble --

11     A.    Oh, yes.

12     Q.    -- on multiple occasions?

13     A.    Yes.

14     Q.    Go ahead and let me finish the question.

15           Has this caused you trouble on many occasions?

16     A.    Yes.

17                  MS. FYFFE:    Your Honor, now might be the time to take

18     the break we discussed earlier.         I know it's a little early.

19                  THE COURT:    All right.

20                  MR. ATWOOD:   We could approach on that issue, as well,

21     if you don't want to take a break.

22                  THE COURT:    I'm not sure.    I thought counsel was going

23     to have to actually put together the recording.

24           All right.    Approach.    Let's discuss it at sidebar so we're

25     not being cryptic.
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                                                                               44

1              (At sidebar on the record.)

2                   THE COURT:    My understanding was you wanted a break so

3      you could put the recording together and --

4                   MR. ATWOOD:   Sorry to interrupt.     I already listened

5      to it.    And so if she is ready to play it, she can play it.       We

6      can play it.     I listened to it after we took a break.

7                   MS. FYFFE:    With your proposed exhibit?

8                   MR. ATWOOD:   We might replay something later, but --

9                   THE COURT:    Okay.   Should we just go ahead and

10     proceed?

11                  MS. FYFFE:    Yeah.   No, I didn't -- yeah.

12                  THE COURT:    While we're here, I'll save Mr. Metcalf

13     the trouble.     We generally don't allow soda, coffee, soft drink.

14     I noticed your table is just covered with them.          Yours might as

15     well.

16                  MR. ATWOOD:   Today is the first day I brought coffee.

17                  THE COURT:    We don't allow it in the courtroom.

18                  MS. FYFFE:    I'm sorry, sir.

19                  THE COURT:    I assume it will be gone after the recess.

20                  MS. FYFFE:    It will.

21                  THE COURT:    Okay.   All right.

22             (Sidebar concluded.)

23                  THE COURT:    Apparently we don't need the break, so

24     we'll proceed on.     Counsel, probably -- we're off schedule a

25     little bit because we started late.        But we'll probably go
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 45 of 146

                                                                                 45

1      another 25 minutes before the morning break.          So go ahead and

2      proceed.

3                   MS. FYFFE:   I'm ready to take the exhibit down.

4      Q.    BY MS. FYFFE:     Steve, do you recall when Agent Zimmerman

5      came to your house?

6      A.    Who?

7      Q.    Agent Zimmerman.

8      A.    Yes, I do.

9      Q.    Why was she there?

10     A.    To serve me a warrant, a search warrant.

11     Q.    Did she talk to you then?

12     A.    Yes.

13     Q.    Do you recall that conversation?

14     A.    Not all of it, no, but I do recall we talked for a while.

15     And then she Mirandized me, and then I thought I needed to talk

16     to a lawyer.

17     Q.    Do you recall listening to an audio-recording?             Do you

18     recall listening to the audio-recording of that conversation

19     with me?

20     A.    Oh, yeah, I think I do.

21                  THE COURT:   Counsel, I don't know --

22                  THE WITNESS:   Yeah, I --

23                  THE COURT:   I'm sure counsel is going to agree this is

24     the recording.     I don't know that we need to lay a foundation as

25     to the recording, assuming that -- I'm just trying to expedite
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 46 of 146

                                                                               46

1      things.

2                  MS. FYFFE:    Is that correct?

3                  MR. ATWOOD:    Are you moving to admit?

4                  MS. FYFFE:    Yeah.   So you want me to call it a

5      different number?

6                  THE COURT:    Counsel, I should forewarn you:        If you're

7      going to play excerpts from a recording, you are going to need

8      to prepare a separate recording which has only the excerpted

9      clips for the jury.      So -- and, likewise, before you play it, we

10     need to be very clear as to the starting point and end point on

11     the recording by reference to the counter.         I assume you have

12     got that in order.

13                 MS. FYFFE:    What I'm understanding, Your Honor, is,

14     that the government has reviewed what it had proposed as an

15     exhibit, which is a clip.       It's about seven minutes in length

16     and that that -- the government is comfortable with that entire

17     clip coming in.     It's a --

18                 THE COURT:    All right.    Let's mark -- let's designate

19     that this clip -- and we are going to have to create a separate

20     recording which is just the clip that's being played to the jury

21     so they can have it as part of the record.         But for now, we can

22     go ahead.

23           I am just warning you that before -- by tomorrow, when we

24     submit the case to the jury, I will need to have a separate

25     recording which has just the clip.        I'll let you figure that
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                                                                                47

1      out.

2             So what is the exhibit number?      Was it marked by the

3      government as an exhibit?

4                  MS. FYFFE:    It was marked by the government, and so I

5      need to find a different number to assign it.

6             Call it Defendant's Exhibit 2042.

7                  THE COURT:    All right.    This will be excerpts from

8      which government's exhibit?

9                  MS. FYFFE:    This is Government's Exhibit 1045.

10                 MR. ATWOOD:    Your Honor, the government hasn't

11     admitted this exhibit.      If counsel wants to move to admit, we

12     can go from there.     But this is not -- this hasn't been admitted

13     into evidence.

14                 THE COURT:    No, I understand.

15                 MS. FYFFE:    All I'm saying is it's the proposed

16     exhibit, which is a clip of -- yeah.

17                 THE COURT:    Right.   So the exhibit was -- excuse me --

18     originally marked by the government as Exhibit 1045.             An excerpt

19     from what was marked but not admitted as 1045 will now be --

20                 MR. ATWOOD:    It's 1045 in its entirety, Your Honor.

21     It's not an excerpt.

22                 THE COURT:    That's what I'm saying.      So this is an

23     excerpt.    And so 2042 will be an excerpt from what was marked

24     but not admitted as Exhibit 1045 from the government.

25                 MR. ATWOOD:    It's identical to Exhibit --
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                                                                                    48

1                  THE COURT:    I know it's identical.      I'm just trying to

2      get the record straight.      I'm not sure -- I'm not communicating

3      very effectively here.

4            So Exhibit 2042 is what you're offering; correct?

5                  MS. FYFFE:    Correct, Your Honor.

6                  THE COURT:    And it is an excerpt of a longer

7      recording, which is marked by the government but not admitted.

8            What I'm trying to get through, I guess, Mr. Atwood, is

9      that we need to have a separate exhibit now which is only the

10     excerpt.

11                 MR. ATWOOD:    I understand, Your Honor.      And I'm trying

12     to explain it's identical.       It's not part of a longer exhibit;

13     it's identical, same length in time as the other exhibit you're

14     referring to.

15                 THE COURT:    All right.    I think all of our discussion

16     previously this morning is not relevant.         You're offering the

17     entire exhibit?

18                 MS. FYFFE:    There is an entire recording.          This is a

19     clip, and I --

20                 THE COURT:    All right, Counsel.

21           I apologize, ladies and gentlemen.        We had a long

22     discussion this morning on this, and it sounds like things have

23     changed a little bit from what we discussed this morning.

24           So what you're now going to play is the entirety of

25     Exhibit 1045; is that correct?
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                                                                               49

1                  MS. FYFFE:    Yes.

2                  THE COURT:    Mr. Atwood, you agree?

3                  MR. ATWOOD:    I agree it's identical to an exhibit that

4      has not yet been admitted.        But, yes, I agree with the court.

5                  THE COURT:    Okay.    So you're offering Exhibit 2042?

6                  MS. FYFFE:    I am, Your Honor.

7                  THE COURT:    Is there an objection?

8                  MR. ATWOOD:    There is no objection.

9                  THE COURT:    All right.    I apologize -- hopefully if

10     the jury had been in here this morning and saw the discussion,

11     they would understand my confusion.        Because my understanding is

12     we were playing excerpts from a much larger recording.           But,

13     apparently, either things have changed or I didn't understand

14     counsel.

15           So Exhibit 2042 will be admitted and may now be played to

16     the jury.

17           (Defendant's Exhibit 2042 admitted and published.)

18                 MS. FYFFE:    Sorry.    The rain is not part of the

19     exhibit.

20                 THE COURT:    Is that the end of the exhibit?

21                 MS. FYFFE:    That is, Your Honor.

22     Q.    BY MS. FYFFE:     Steve, when you were talking with Agent

23     Zimmerman in the conversation we just heard, did you realize

24     what you had done wrong?

25     A.    No.
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                                                                        50

1      Q.    Were you aware you were -- did you feel you had anything to

2      hide from her?

3      A.    No.

4      Q.    I'm going to move to the gun show flier.

5            Do you recall yesterday the exhibit that was admitted to --

6      your big flier, gun show for sale?

7      A.    Oh, yes.

8      Q.    Let me get the number on it for the record.

9            Tell me -- tell me why you created that.

10     A.    We were going to get out of the gun show business, and I

11     had those signs made, and I displayed them around my tables so

12     that someone could buy the whole thing.

13     Q.    What do you mean, "buy the whole thing"?

14     A.    The soft wear, the guns, the racking, the tablecloths, the

15     tubs, the mannequins.

16     Q.    Everything in the --

17     A.    Yes, everything in the gun show.

18     Q.    Everything in the trailer?

19     A.    Yes.

20     Q.    So not just the guns?

21     A.    No, not just the guns.

22     Q.    And that was Exhibit 1059, was the gun show flier.

23           Let's talk about Phillip.

24     A.    Yes.

25     Q.    Who is Phillip to you?
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 51 of 146

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1      A.     Phillip was a young man who told me he was getting started

2      in collecting and shooting firearms, and he came to me several

3      times.    He was a very good customer, and we chitchatted a lot.

4      I gave him as much information as I could.

5      Q.     What kind of person did he seem to be to you?

6      A.     Seemed to be a very nice young man, clean cut,

7      well-dressed.

8      Q.     Let's talk about the 4473s.

9      A.     4473.

10     Q.     Do you know what I'm talking about?

11     A.     Yes, I do.

12     Q.     Do you know how old you were when you filled your first one

13     out?

14     A.     I was in my 20s.

15     Q.     Has it changed over the years?

16     A.     I believe they have, yes.     I don't remember exactly what

17     the changes were, but I think they did change.

18     Q.     Had you found the form easy to read?

19     A.     Oh, yes.   Yeah, it's easy to read.      It's a little

20     confusing, but it's easy to read.

21     Q.     Did you read it every single time you signed it?

22     A.     No, not every single time, no.

23     Q.     With all the 4473s we have been discussing or the

24     government has been discussing in the last couple days, had you

25     read all those word for word?
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 52 of 146

                                                                              52

1      A.     No, not all of them.

2      Q.     Do you recall the last time you fully read the 4473?

3      A.     Excuse me?

4      Q.     Do you recall the last time you fully read the 4473?

5      A.     When I filled one out?     The last time I filled one out?

6      Q.     No.    When you read it.

7      A.     Oh, when I read it.    Oh, my gosh.     Wow.   No.   I can't tell

8      you.    I don't remember.

9      Q.     Would you read them when there were changes to the forms?

10     A.     No.    I was told what the changes were by the dealer.

11     Q.     Did you believe you understood what the requirements were

12     on the form?

13     A.     Yes.

14     Q.     Did you think you could lawfully buy a firearm?

15     A.     Yes.

16     Q.     Did you believe you were saying anything false on the

17     firearm?

18     A.     No, no false.

19     Q.     Do you recall the language about the repetitive sale

20     and -- repetitive purchase and sale of firearms for profit

21     requiring a license on the form?

22     A.     Oh, yes.   Yes.

23     Q.     Did you understand that to mean you needed a license?

24     A.     Yes.   Just to sell them, yeah.

25     Q.     At the gun show?
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 53 of 146

                                                                               53

1      A.    Yes -- no, not at the gun show.       If you were going to

2      sell -- see, I was confused on that issue.

3            Again, with the ATF form for the federal firearms license,

4      it said if you go to gun shows, you don't need to send this

5      application in.     So I took that as gun shows were okay to take

6      your guns -- your private guns and sell.         The guns you bought

7      you could take to a gun show and sell.

8                  MS. FYFFE:    Your Honor?

9                  THE COURT:    Yes.

10                 MS. FYFFE:    I wonder if we could take a break at this

11     point.    There is some original evidence that I'd like to have

12     the government --

13                 THE COURT:    We could take the break at this point just

14     a few minutes early.

15           Ladies and gentlemen, we'll take the morning break.        I'll

16     admonish you not to discuss the case among yourselves or with

17     anyone else, nor should you form or express any opinions about

18     the case until it is submitted to you.         And continue following

19     the court's admonition concerning juror conduct.

20           We will be in recess for 15 minutes.

21           (Recess at 10:26 a.m. until 10:49 a.m.)

22           (Jury present.)

23                 THE COURT:    For the record, I'll note that the jury is

24     present.    The witness has retaken the witness stand.

25           Mr. Clyne, I'll remind you you are still under oath.
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                                                                           54

1                    THE WITNESS:   Yes, Your Honor.

2                    THE COURT:   Ms. Fyffe, you may resume your examination

3      of the witness.

4                    MS. FYFFE:   Thank you, Your Honor.

5      Q.     BY MS. FYFFE:    Steve, you recall Agent Kondo's testimony

6      yesterday about the selling the HK to him in the Winco parking

7      lot?

8      A.     Yes.

9      Q.     I'm going to play part of Exhibit 1023, which has been

10     previously admitted.

11            All right.   The marker is starting at 2:13.

12            (Audio clip published. )

13                   MS. FYFFE:   I stopped it at counter 3:30.

14     Q.     BY MS. FYFFE:    Steve, when you said you were "going to get

15     them right now," can you tell us what you meant?

16     A.     Well, I was on my way to do some shopping, and I was going

17     to go to Larry's Guns and see how many guns he had for sale that

18     I could afford.

19     Q.     Were you looking for Hi-Points?

20     A.     Not necessarily; but if they were there, I wanted to pick

21     them up.

22     Q.     Had you been planning to go to Larry's before that phone

23     call?

24     A.     Oh, yes.

25     Q.     And when you went to Larry's, how did you decide what to
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 55 of 146

                                                                         55

1      buy?

2      A.     From what he had in stock.

3      Q.     Did you buy what Hi-Points he had in stock?

4      A.     I did buy all the Hi-Points he had in stock, and I also

5      bought another -- another gun.

6      Q.     And why did you buy those Hi-Points?

7      A.     For resale at the gun show.

8      Q.     Did you plan to offer them for sale for Agent Kondo?

9                  MR. ATWOOD:    Objection.    Leading.

10                 THE COURT:    Sustained.

11     Q.     BY MS. FYFFE:    Were you going to sell them to anybody else?

12     A.     To anybody who had the money to buy them.

13     Q.     Had you earmarked any specific guns for Agent Kondo?

14     A.     I wasn't sure which one he really could buy or if

15     he -- what they wanted to buy.

16                 MS. FYFFE:    I would like to display an exhibit that's

17     been previously admitted.

18                 THE COURT:    Exhibit 1002?

19                 MS. FYFFE:    It is 1002, Your Honor.

20     Q.     BY MS. FYFFE:    Steve, are you able to see that?

21     A.     Yes, I can read that.

22     Q.     And I'm going to direct your attention to question 11A.

23     A.     Correct, yes.

24     Q.     Read that.

25     A.     Answer questions 1A, check -- okay.
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                                                                             56

1                   "Are you the actual transfer buyer of the firearms

2                   listed on this form?     Warning:   You are not the actual

3                   buyer if you are acquiring the firearm on behalf of

4                   another person.    And if you are not the actual buyer,

5                   the dealer cannot transfer the firearms to you."

6      Q.    When you checked "yes" --

7      A.    Yes.

8      Q.    -- were you being truthful?

9      A.    Yes.

10     Q.    Were you the actual buyer?

11     A.    Yes.    I had money in one hand and my ID in the other.     I

12     was buying the gun.

13     Q.    What were you going to do with them?

14     A.    Probably play with them, shoot them, or take them to the

15     gun show for sale.

16     Q.    Now, when you purchase a gun that you know you're going to

17     sell at the gun show, are you the actual buyer?

18     A.    Yes.    My personal property.     I'm responsible for it.

19     Q.    When you checked "yes" to that box on this particular

20     exhibit, were you intending to defraud Larry -- Larry's?

21     A.    No.

22     Q.    Did you believe you were breaking the law?

23     A.    No.

24                  MS. FYFFE:   I'm finished with that exhibit,

25     Your Honor.
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                                                                            57

1      Q.     BY MS. FYFFE:    Do you recall the recording we listened to

2      yesterday in court about the September 12th gun show with

3      Agent Kondo?

4      A.     I believe I do, yeah.

5      Q.     Do you recall the portion in there where you told him how

6      to -- or talked about 11A to him?

7      A.     Yes.   Yes.   I don't know even why that conversation come

8      up, but yes.

9      Q.     Were you advising him to break the law?

10     A.     No.

11     Q.     What were you doing?

12     A.     Just telling him he needed -- if he was buying a gun for

13     himself, he needed to mark "yes" in the 11A question.

14     Q.     Had anyone ever told you that?

15     A.     Yes.

16     Q.     As a private seller, did you -- did you believe you were

17     lawfully selling your guns as a private seller?

18     A.     Yes.

19     Q.     Did you believe you needed a license?

20     A.     No.

21     Q.     Would you have advised Phillip how to break the law?

22     A.     No.    No, I would not.

23     Q.     Did Phillip seem to you like somebody who would break the

24     law?

25     A.     Not at all.
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1      Q.    Did he -- did he ever share with you what he did for a

2      living or anything?

3      A.    No, he never did.

4                    MS. FYFFE:    I would like to show the witness some

5      firearm exhibits, Your Honor, and I'm not sure -- they are here

6      at the table.     I don't know if Mr. Metcalf or myself could serve

7      as bailiff or --

8                    THE COURT:    Mr. Metcalf, maybe you could help us out.

9            I assume those have been rendered inoperative.             Ms. Fyffe,

10     these firearms have been rendered inoperative?

11                   MS. FYFFE:    These firearms have been in the possession

12     of the ATF, so I would defer to Ms. Zimmerman.

13                   THE COURT:    I assume the government can confirm that

14     they are inoperative?

15                   MR. ATWOOD:   That's correct, Your Honor.

16                   THE COURT:    Inoperable.   I'm not sure which it is, but

17     they don't work.

18     Q.    BY MS. FYFFE:     Steve, pick up one of those and read the

19     exhibit number for us, please.

20     A.    The what now?     The exhibit number?

21     Q.    Yes, please.

22     A.    1032.

23     Q.    Do you recognize Exhibit 1032?

24     A.    Yes, I do.

25     Q.    What it?
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1      A.    It's a DPMS AR15 single-shot with an extra sighting system,

2      and that's it.

3      Q.    Did the sight system come with the gun?

4      A.    No, it did not.

5      Q.    How did it get there?

6      A.    I put it on.    That's what I do.     I accessorize guns and

7      make them better.

8      Q.    So is this an example of what you were talking about

9      earlier?

10     A.    Correct.

11     Q.    Can you show the jury what you're talking about, the sight

12     system?

13     A.    The sight system right here.       That's the add-on.

14     Q.    And how much is the sight system worth?

15     A.    That one was on sale for $200 that I picked up at a

16     different sporting goods store.

17     Q.    Was the gun itself new?

18     A.    It looks new.     It still has the oil on it.      Anyway, it

19     looks new.

20     Q.    Did I understand you dressed up new guns?

21     A.    Oh, yes, make them more appealing.

22     Q.    And I don't know if we described dressing up enough.        I

23     mean, besides sights, what else might you put on there?

24     A.    Oh, we call it "furniture."       We change the color of the

25     stock, put a different stock on, put a fore grip.          That's called
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1      "furniture."     Then the sight system, that's part of an

2      accessory.

3      Q.    Is it -- do you enjoy it?

4      A.    Oh, yes.

5      Q.    I'm sorry if I asked you that already.

6            Could you pick up the other firearm and read the exhibit

7      number for me.

8      A.    Yes.

9      Q.    This is Exhibit 1020.      Does that have any quote/unquote

10     "furniture"?

11     A.    Oh, yes.    I added an extra peep sight, and then I also

12     added this Bushnell red dot.

13     Q.    How much is it worth?

14     A.    Oh, there is at least $300 worth of accessories, if I can

15     recall right.     I don't know the exact number, but sights are not

16     cheap.    But this was something I had in stock from -- left over

17     from something.

18           You can see there is two little hex-screw bolts that take

19     it to the rail system.      This is what the rail system is.     Then

20     if you look underneath here, there is rail systems on both

21     sides.    Those are for all the other kind of accessories --

22     flashlights, laser sights, knives, just whatever you want to put

23     on it.

24     Q.    Are there other firearms that have been introduced into

25     evidence that you dressed up --
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 61 of 146

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1      A.    I would have to --

2      Q.    -- or put furniture on them?

3      A.    Yeah.   Yeah.   I'd have to see them.      I did a lot of them,

4      and then some I just left; or we just put up fixed sights

5      instead of solid -- the front rear sight, they go up and down.

6      It makes it easier to put into a scabbard.

7      Q.    So not all of them were accessorized?

8      A.    I don't -- no.     I couldn't say all of them were, no.

9      Q.    Were some of them?

10     A.    Yes.

11     Q.    Steve, what would you have done if somebody told you you

12     needed a license --

13     A.    I would have --

14     Q.    -- to sell firearms?

15     A.    I would have packed my trailer back with my firearms and

16     locked the trailer, and that would have been that.

17     Q.    Were you interested in violating the law?

18     A.    No, not at all.

19     Q.    Do you -- would you knowingly commit a felony?

20     A.    No, I would not.

21     Q.    And you believed that -- did you believe that you could

22     purchase firearms?

23     A.    Yes.

24     Q.    And resell them?

25     A.    Yes.
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1      Q.    And that you were not breaking the law?

2      A.    Correct.

3                    MS. FYFFE:   I pass the witness.

4                    THE COURT:   Cross-examination, Mr. Atwood.

5                                  CROSS-EXAMINATION

6      BY MR. ATWOOD:

7      Q.    All right.    Let's start with -- you went through

8      Exhibit 1108 in some detail with defense counsel.          That was the

9      list of firearms?

10     A.    The list of firearms?      Yes.

11     Q.    The list that you went through, the chart of the firearms

12     that you went through page by page -- do you recall doing that?

13     A.    Yes.

14     Q.    All right.    Do you know how many total firearms there are

15     listed on that page?

16     A.    No.    I didn't count.

17     Q.    Okay.    Were you here in court yesterday when the person who

18     introduced that exhibit stated there were 324 firearms listed on

19     there?

20     A.    Yes.    I remember that.

21     Q.    And those were all purchased by you; is that correct?

22     A.    Correct.

23     Q.    And you heard Agent Zimmerman previously testify about the

24     chart that she used to locate the firearms that were purchased

25     by you based on FFL -- excuse me -- the 4473 forms from nine
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 63 of 146

                                                                         63

1      different FFLs?

2      A.    Correct.

3      Q.    You purchased firearms from more than nine FFLs, though,

4      didn't you?

5      A.    I never counted.     I don't -- I don't understand -- I don't

6      know.   I don't know how many.

7      Q.    Where did you purchase firearms from?

8      A.    I bought from Cabela's, Sportsman's, Walmart, Fred Meyer's,

9      5 -- Big 5, and different shops, pawn shops.

10     Q.    Many different shops; correct?

11     A.    Yes, very many.

12     Q.    Boise Gun Company, Pawn 1, Big 5, Templar Exchange, Larry's

13     Sporting Goods?

14     A.    Yeah.

15     Q.    When she made her list, she made it clear that it was only

16     based on nine different FFLs that didn't include Walmart,

17     Fred Meyer.

18           You purchased some from Jerry's Sporting Goods or

19     something?

20     A.    Yes.    I saw that on the list, yes.

21     Q.    So in fact, you would agree that the 324 firearms is just

22     based on what the government was able to document so far of the

23     firearms that you purchased?

24     A.    Correct.

25     Q.    And, in fact, again, that's just the known documented
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 64 of 146

                                                                                    64

1      firearms that we were able to find some documentation either in

2      your house or based on the 4473s.

3            It's likely, you would agree, you purchased far more than

4      324 firearms?

5      A.    No.    I'm pretty accurate on the ones I actually purchased.

6      Q.    Did you purchase firearms at other locations other than the

7      FFLs?

8      A.    No.    At the gun show, I would purchase a gun or trade.

9      Q.    How many did you purchase?

10     A.    I don't remember.       Not very many.

11     Q.    Okay.    All right.     You saw the exhibit of the gun show

12     activity?

13     A.    Yes.

14                   MR. ATWOOD:    And that's Exhibit -- that's

15     Exhibit 1106, if we could show that to the witness.

16           It's been admitted, Your Honor.

17                   THE COURT:    Yes.   I figured that out.   Go ahead.

18                   MR. ATWOOD:    Could we publish that for the jury as

19     well, please, Judge.

20                   THE COURT:    I'm sorry.   I thought it was.       I see why

21     you were --

22     Q.    BY MR. ATWOOD:       Do you see that list, Mr. Clyne?

23     A.    I cannot make it out -- oh, there we go.         Yes, I can make

24     that out.

25     Q.    Go ahead and review that list.       And I want to -- you agree
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 65 of 146

                                                                                   65

1      that you went to each and every one of those gun shows to sell

2      firearms?

3      A.    Yes.

4      Q.    In 2013, you went to seven gun shows; is that correct?

5      A.    Correct.

6      Q.    All right.    How about in 2014?     Twelve gun shows in 2014?

7      A.    Correct.

8      Q.    Approximately 10 gun shows in 2015?

9      A.    Correct.

10     Q.    All right.    And you were selling firearms at all of those

11     gun shows?

12     A.    Not at all of them.

13     Q.    Oh, you weren't?

14     A.    No.    The out-of-state ones I sold my soft wear and my

15     accessories.

16     Q.    And you didn't sell any firearms at the out-of-state gun

17     shows?

18     A.    No.

19     Q.    Do you recall telling Special Agent Zimmerman that you did

20     sell firearms at out-of-state gun shows?

21     A.    I said I thought -- no, I don't remember that.             I know I

22     went to the show.     I just -- okay.

23     Q.    All right.    So, out of the number of firearms that we have

24     looked at, you have -- again, you talked about that list in

25     great length -- do you know how many Hi-Points you have
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                                                                                  66

1      purchased since 2013 until the current?

2      A.    Well, I recall they counted them for me, 104.

3      Q.    Correct.    And you agree with that number?

4      A.    I -- yes, I guess.     I don't remember buying that many, but

5      if you say so.

6      Q.    No.    I'm asking you.    I mean, it's fair to say you bought

7      too many to count?

8      A.    Okay.

9      Q.    Is that true?

10     A.    True.

11     Q.    You've had a chance to review all the records.             Did you

12     look at all the 4473s?

13     A.    Yes.

14     Q.    Do you dispute any of those are true and accurate?

15     A.    They are all true and accurate.

16     Q.    So you would agree that you purchased 104 Hi-Point

17     firearms?

18     A.    Correct.

19     Q.    And if I understood your testimony earlier, the Hi-Points

20     are good sellers at the gun shows.        You bought those to sell at

21     gun shows?

22     A.    Correct.

23     Q.    All right.    You went through that list in detail earlier.

24     Well, let me back up a little bit.

25           You agree you were running a business?
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                                                                                67

1      A.    Well, it was only once -- once a month.         I don't -- okay.

2      It's a business.

3      Q.    You were keeping records?      You were keeping records?

4      A.    Yes.    I did keep some records, yes.

5      Q.    Take credit cards?

6      A.    Yes, I did take credit cards.

7      Q.    Did you sell firearms with the people using credit cards?

8      A.    Yes, I did.

9      Q.    You had signs?     Signs?

10     A.    Yeah.    I had private sales, take credit cards, had sale

11     prices on some of my items.

12     Q.    Business cards?

13     A.    Business cards.

14     Q.    You spent quite a bit of time doing this?

15     A.    Not really.    It was -- it was one weekend a month.       A few

16     months I would do two shows.       Very few -- maybe two extra ones a

17     month in two months.

18     Q.    In 2014, you went to at least 12 shows; correct?

19     A.    Correct.

20     Q.    One every month?

21     A.    One a month, yes.

22     Q.    And the shows are multiple days?

23     A.    Three days a week -- three days for the show.          The first

24     day is to set up, and then the two days are for selling.

25     Q.    And you traveled to other locations?
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1      A.     Mostly Lewis and Clark.     There was one in Caldwell.    And I

2      believe that's it, yeah.

3      Q.     You went to Lewiston or up to Spokane?

4      A.     I did go to Spokane, yes.

5      Q.     Did you go up to Lewiston?

6      A.     I might have gone to -- I think I did go to Lewiston one

7      time, yes.

8      Q.     Pocatello?

9      A.     Never been to Pocatello.

10     Q.     Idaho Falls?

11     A.     Never Idaho Falls.

12     Q.     Okay.   I'm going to ask to show you Exhibit 1106.

13            Okay.   October of 2015, see at the bottom, "Idaho Falls"?

14     A.     Oh, yes.

15     Q.     Okay.   You went there, didn't you?

16     A.     Yes, I did.

17     Q.     Okay.   See the one up earlier, "Lewiston, Idaho"?

18     A.     Yes, I did.

19     Q.     You went there; correct?

20     A.     Yes.

21     Q.     All right.    Above that, "Fort Hall, Idaho," did you go

22     there?

23     A.     I don't remember that one.      I don't believe I went to that

24     one.

25     Q.     It's near Pocatello.
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                                                                                69

1            Did you go to Pocatello for a gun show?

2      A.    No, I did not.

3      Q.    So it's your testimony that you didn't travel to Fort Hall

4      or Pocatello to attend a gun show --

5      A.    Correct.

6      Q.    -- in February of 2015?

7      A.    Correct.

8      Q.    All right.     You even had people helping you at the gun show

9      events; correct?

10     A.    Correct.

11     Q.    You spent time marking the guns, putting price tags on

12     them?

13     A.    Yes.    Yes.

14     Q.    Okay.    Did you spend quite a bit of time purchasing guns?

15     A.    Not a whole lot.     I would go and buy several at one time.

16     Q.    15 at a time?     15 guns at one time?

17     A.    Very possibly, yes, I could have bought that many at one

18     time.

19     Q.    Other times you would buy one or two at a time?

20     A.    Two, three, four, yes.

21     Q.    And you marked all the guns with price tags?

22     A.    Yes.

23     Q.    All right.     You talked earlier about -- you went through

24     that list of the guns, and you talked about you have some

25     grandkids; you like some of the guns for yourself.           We didn't
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1      get too specific on that.

2            Do you -- out of that list of 324 firearms, are you able to

3      tell us how many of those that you gave as gifts?

4      A.    As much as I can recall, about 15.

5      Q.    Out of 324 firearms --

6      A.    Correct.

7      Q.    -- you're saying 15 of those were gifts?

8      A.    Yes.   Probably more, but that's all I can remember.

9      Q.    But you've had the list.      Have you had a chance to go

10     through it and identify which ones were gifts?

11     A.    I did go through the list, yes.

12     Q.    You said also that you buy a lot of guns and go out testing

13     them and playing with them with your family?

14     A.    Correct.

15     Q.    But there would be no reason for you -- you would agree

16     that you went to the gun stores and purchased the same make and

17     models on numerous different occasions?

18     A.    Correct.

19     Q.    So there would be no purpose for you to go out and buy 5 or

20     10 Hi-Points and shoot those and then go back to the gun store

21     later and buy another 5 or 10 of the exact same make and model

22     of a firearm?

23     A.    Yes.

24     Q.    Do you agree?

25     A.    Yes.
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1      Q.    You also talked about buying a lot of gifts.         But if I

2      understood you to say, you would buy some guns for yourself and

3      wouldn't have enough money to keep them, so you would sell them?

4      A.    Correct.    Good times and bad times.

5      Q.    A lot of ups and downs in the time from January '13 to --

6      the beginning of January '13 until November of 2015?

7      A.    Yes.

8      Q.    So during that time frame, you both had so much money that

9      you bought a lot of gifts, firearms for other people but, at the

10     same time, couldn't afford to keep your own guns?

11     A.    Correct.

12     Q.    And you were engaged in the repetitive purchase of

13     firearms.    This wasn't all that you bought at one time; correct?

14     A.    Correct.

15     Q.    You were ongoing --

16     A.    All along.

17     Q.    -- going to the gun stores during that entire time frame.

18     Do you agree?

19     A.    Say what?    Excuse me.

20     Q.    During that entire time frame from 2013 to November of

21     2015, you went to the gun store to buy guns repeatedly?

22     A.    Yes.

23     Q.    So but you still -- it's your testimony that you would buy

24     guns, not have enough money to keep them, so you would sell

25     them; correct?
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 72 of 146

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1      A.    Yes.

2      Q.    Yet, all at the same time, you were heading back to the

3      store to buy yourself some more guns?

4      A.    Yes.

5      Q.    With what money, if you didn't have money to keep the guns

6      that you bought?

7      A.    Part of the money that I made on the guns that I did sell I

8      kept, and the other part I used to pay bills.

9      Q.    Because you were making profit off the guns when you sold

10     them; correct?

11     A.    I tried to.

12     Q.    That was the point; right?

13     A.    Correct.

14     Q.    All right.     You talked about some changes.      You talked

15     about the Form 4473, and you talked about some changes to the

16     form.

17     A.    Yes.

18     Q.    Do you have personal knowledge of those changes?

19     A.    Now I do, yes.

20     Q.    Do you know what the changes to the form were?

21     A.    I believe there was a couple of changes, yes.

22     Q.    You would agree that the changes -- the questions -- 11A,

23     about whether you're the actual buyer, that question hasn't been

24     changed since 1999.      Do you agree with that?

25     A.    Okay.   Yes.
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1      Q.     Do you dispute that?     Do you dispute that?

2      A.     Dispute it?

3      Q.     Do you disagree with that, that that form hasn't been

4      changed since 1999?

5      A.     No, I don't dispute that.

6      Q.     That portion of the form.     Okay.

7             You purchased other -- let's talk about the inheritance for

8      a little while.

9             If I understood your testimony, you said that the

10     inheritance was $125,000?

11     A.     Correct.

12     Q.     And you estimated you spent $80,000 on what you're calling

13     "soft goods"?

14     A.     Correct.

15     Q.     So by your -- you said you spent the rest on guns?

16     A.     Correct.

17     Q.     But, by your calculations, you spent $45,000 purchasing

18     firearms?

19     A.     Okay.   Yes.

20     Q.     Is that right?

21     A.     Yes.

22     Q.     And those were firearms that you intended to resell to make

23     money?

24     A.     Not all of them.    Some were to play with.      Some were to

25     use.    Some were to keep.     Some were to sell, yes.
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1      Q.    So would you disagree if the firearms from just six FFLs,

2      the cost of the firearms -- just from 2013 and 2014, you would

3      disagree that that cost of that gun inventory was $61,000 worth

4      of firearms in those two years?

5      A.    I can't answer that for sure.       I don't know.

6      Q.    Well, let's put it this way:       The $45,000 you initially

7      spent on guns, you were buying and selling them to make money;

8      correct?

9      A.    Correct.

10     Q.    And then you would go -- you would take that money and go

11     buy additional guns?

12     A.    Correct.

13     Q.    To make additional money?

14     A.    Correct.

15     Q.    Then go back and do it again?

16     A.    Correct.

17     Q.    So would you disagree if I said that you spent over $61,000

18     in a two-year period just at six gun stores?

19     A.    Okay.

20     Q.    I'm asking:    Would you dispute that?      Does that sound

21     right?

22     A.    I'm not sure, sir.     I -- I don't dispute it, but I'm not

23     sure.

24     Q.    We talked about the 104 Hi-Points.

25           Did you -- you would also agree you purchased 17
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 75 of 146

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1      Rock Island pistols in a six-month period in 2014?

2      A.    Okay.   Yes.

3      Q.    Do you agree?

4      A.    Yes.

5      Q.    And you were selling those at the gun shows, as well, for

6      profit?

7      A.    Yes.

8      Q.    There was testimony about one of the Sig Sauer pistols that

9      you sold to the agents on July 11th.

10           Do you recall that testimony?

11     A.    I do recall that.

12     Q.    And that particular gun you'd had in your possession for

13     less than three months?

14     A.    Okay.

15     Q.    Do you disagree?

16     A.    I do not disagree.

17     Q.    Okay.   I understand there is a lot of guns here, but the

18     point is:     You don't disagree that you had these guns in your

19     possession for a very short period of time before you would turn

20     around and sell them?

21     A.    Some were a very short time, yes.

22     Q.    Some even the same day?

23     A.    Yes.

24     Q.    All right.     Did I understand your testimony earlier that

25     you -- you had claimed that you were buying them from the FFLs,
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 76 of 146

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1      but you could actually get them cheaper than you could get them

2      wholesale?

3      A.    Correct.

4      Q.    And that's your belief, that you could buy guns cheaper

5      than what people could buy them for at a Walmart or anywhere

6      else?

7      A.    Yes, I did believe that.

8      Q.    Have you ever bought them wholesale?

9      A.    No, I have never bought one wholesale.

10     Q.    So are you just guessing?      Or what's the basis of this

11     knowledge?

12     A.    Well, I've talked to several FFL dealers, and they were

13     telling me they only get a 20 to 30 to $40 markup on the gun

14     from the wholesale house.

15     Q.    The other dealers that you were talking to were only

16     getting -- they were only getting 20 or $30 -- I'm not sure I

17     understood your testimony.

18     A.    They told me they were only making 30 or $40 off of a gun

19     from wholesale.

20     Q.    The dealers?

21     A.    The dealers.

22     Q.    Right.   And that's -- that's true, isn't it?        Most dealers,

23     there is not a lot of markup in guns?

24     A.    No, there are not.

25     Q.    But your guns you were selling, you were selling them for a
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 77 of 146

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1      significant markup?

2      A.    Not all the time.

3      Q.    I mean, there was guns that you made $200 off a single gun?

4      A.    They probably had accessories, and I did not make $200 off

5      of the sale of that gun.

6      Q.    Well, you remember speaking to Special Agent Zimmerman?         Do

7      you remember speaking to Special Agent Zimmerman on November 12?

8      A.    Was it played on the video?       I believe I do.    I'm not sure.

9      I don't remember the date or --

10     Q.    In that recording that you just listened to, do you agree

11     that you initially told Special Agent Zimmerman that you were

12     making -- you were marking the guns up between 25 and $50?

13     A.    I remember that, yes.

14     Q.    And later in the conversation, do you remember telling her

15     that you would even mark up the guns further, and you could make

16     up to 75 or 100?

17     A.    Yes.   If I had the rebate from the manufacturer, and then I

18     usually would end up throwing in a box of shells or an

19     accessory, and it reduced the profit quite a bit.

20     Q.    All right.    A lot of the guns that you were selling were

21     brand-new?

22     A.    Some were, yes.

23     Q.    I mean, you saw the videos that were introduced with the

24     agents who purchased guns from you.        You would agree you made

25     those statements on more than one occasion telling them it's
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1      brand-new, never been fired?

2      A.    Yes.    Yes.

3      Q.    You were buying guns that were still brand-new, had never

4      been fired, and then selling those guns; you agree?

5      A.    There were a few that had never been fired, yes.

6      Q.    A few?

7      A.    Yes.

8      Q.    Was there more than a few that had never been fired?

9      A.    Well, I don't -- you know, define "a few."         I would say

10     50 percent were fired, 50 percent were not.

11     Q.    So it's your testimony that out of 324 guns, you would buy

12     those and go out and go shooting them before you went and sold

13     them, trying to make money?

14     A.    Correct.    As near as I can recall; let's put it that way.

15     Q.    Let's do it this way:      100 of them -- or over 104 of those

16     were Hi-Points; correct?

17     A.    Correct.

18     Q.    So it's your testimony that you took out half the Hi-Points

19     to shoot those?

20     A.    Yeah.    There are different calibers of Hi-Points and

21     different makes and models, and we tried -- we tried all of the

22     different kinds out.

23     Q.    Okay.

24     A.    We would take two or three, maybe four out at the same

25     time.
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1      Q.    Okay.   So, say -- let's go with the C9s.        That's a pistol;

2      is that correct?

3      A.    Correct.

4      Q.    You purchased 30 of those from 2013 to 2015.         Do you agree?

5      A.    Okay.   Yes.

6      Q.    It's your testimony that you shot how many of those?

7      A.    At least five.

8      Q.    You took out five different C9s to shoot those?

9      A.    Correct.

10     Q.    For what purpose?

11     A.    To see how they shot, see how they handled.

12     Q.    Your earlier testimony was that you were buying the

13     Hi-Points to sell at the gun shows.

14     A.    Correct.

15     Q.    And now you're saying that you would buy the Hi-Points and

16     take them out to shoot them just to see how they would handle?

17     A.    Correct.

18     Q.    And then sell them?

19     A.    Sure.   Yes.

20     Q.    After you shot the first one, wouldn't that tell you how

21     the rest of them, the other 29, would handle?

22     A.    I wasn't the only one shooting.

23     Q.    Okay.   So if you took out, what, two people with you --

24     A.    Usually four or five.

25     Q.    Okay.   Same with -- the 995 is another model.         You bought
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 80 of 146

                                                                             80

1      20 of those; you would agree?

2      A.    Okay.    Yes, I agree.

3      Q.    How many of those did you take out shooting?

4      A.    What were those?     I don't remember the model numbers.

5      Q.    The Hi-Point 995.

6      A.    Is that a rifle?

7      Q.    Correct.

8      A.    Yes.    Yes.    We did take several of those out and shoot

9      them, yes.

10     Q.    "Several" meaning what?      Two or three?

11     A.    I don't recall, but we did take them out, and a lot of

12     people had them.       I wanted different people to shoot them.

13     Q.    All right.      Let's talk about a few of these transactions.

14           On July 11, 2015, Special Agent Zimmerman and Special Agent

15     Johanson purchased two firearms from you.

16           Do you recall that event?

17     A.    When was it again?

18     Q.    July 11, the first video that was played on Tuesday.

19     A.    Okay.    Yes.

20     Q.    Do you recall that?

21     A.    I do recall that.

22     Q.    Now, during that video, you were discussing firearms that

23     you were going to sell to Special Agent Zimmerman and

24     Special Agent Johanson.

25           Do you agree that when they questioned you -- well, do you
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1      recall that Corey was there?

2      A.    Yes.

3      Q.    Corey called you over to speak -- to talk?

4      A.    Yes, to make the deal.      Yeah.

5      Q.    Do you recall he said:      These folks are interested in your

6      Smith and Wesson and your Sig, and they want a two-gun deal?

7      A.    Yes.

8      Q.    And you recall that your response was that you had paid too

9      much for those, and so you couldn't do much?

10     A.    Correct.

11     Q.    Because what you were doing is you were buying the guns,

12     and it was important -- you were trying to make sure you got

13     money out of them; correct?

14     A.    Yes.   I was trying to recoup my money, yes.

15     Q.    You weren't trying to recoup your money; you were trying to

16     make money?

17     A.    Yes.   That's usually what I tried to do, yes.

18     Q.    You agree that you also told them there was -- that price

19     was no problems and no paperwork?

20     A.    Correct.    I was a private seller.

21     Q.    Well, I know that's what you would like the jury to believe

22     and that's what you are trying to claim that you were.           But you

23     realize whether or not you're dealing firearms for -- with the

24     intent to make money is a question for the jury?

25     A.    Is there a question, sir?
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1      Q.    Yeah.   Do you understand that you can't just make something

2      true by saying it, by calling yourself something?          Would you

3      agree with that?

4      A.    I believed wholeheartedly that I was not doing anything

5      wrong.

6      Q.    Well, you put out a sign that said "private seller" because

7      you were aware that there was a licensing requirement?

8      A.    No.   I put out that I was a private seller.

9      Q.    Well, you're either a private seller or a dealer; correct?

10     A.    I was a private seller at a gun show.

11     Q.    But out of the two choices, someone is either a private

12     seller or a dealer.

13           You saw other dealers at the gun shows; correct?

14     A.    Correct.

15     Q.    So you knew there was a licensing requirement; you knew

16     there was such a thing as an "FFL"?

17     A.    I did know there was an FFL, and I did try to acquire one.

18     Q.    And you put out the signs that call yourself a private

19     party because you were aware that there was a licensing

20     requirement?

21     A.    I did not realize there was a licensing requirement for gun

22     shows, as I testified earlier.

23     Q.    Okay.   Have you bought firearms at gun shows?

24     A.    Yes, I have.

25     Q.    You were here when Gilbert Kemmerer testified yesterday?
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1      A.    Gilbert, yes.

2      Q.    And you, in fact, yourself have filled out 4473 forms at

3      gun shows?

4      A.    Correct.

5      Q.    So you're aware that firearms dealers sell guns at gun

6      shows?

7      A.    FFL dealers do need to require to fill out the Form 4473

8      and do the background check.

9      Q.    People who are selling firearms for profit can make money?

10     A.    People who have an FFL license.

11     Q.    All right.    Let me talk to you about the transactions with

12     Special Agent Kondo.

13           Do you recall from the phone call that you listened to that

14     he tells you that his friends are interested in buying

15     Hi-Points?

16     A.    Yes, I remember that conversation.

17     Q.    And let me even back up further than that.

18           At the July 11th show, he had asked you about an H & K

19     handgun; correct?

20     A.    Correct.

21     Q.    And you told him you usually have some, but you had sold

22     out of them?

23     A.    Excuse me.    I did not hear that.

24     Q.    You told him that you had sold out of those -- the H & Ks?

25     A.    No.   I had an H & K on the table that he looked at and
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                                                                                84

1      liked.

2      Q.    He initially asked you about a different H & K.            You showed

3      him another handgun.

4      A.    Oh, okay.

5      Q.    Is that correct?

6      A.    I believe -- it wasn't an H & K?        I thought it was.

7      Q.    But you showed him one?

8      A.    Okay.

9      Q.    You showed him the gun.      I'll ask you:     What gun was it?

10     A.    I can't remember what it was.       We looked at quite a few

11     guns, I believe.

12     Q.    Do you remember telling him that if he got ahold of you

13     within a month or two, you would throw in some ammo to make it a

14     better deal?

15     A.    Yes, I did.

16     Q.    And you gave him your contact number, your phone number?

17     A.    I don't believe it was a month or two.         I believe it was

18     within a few days of the gun show, yes, or the next gun show at

19     least.

20     Q.    But you don't think that you told him that he -- you don't

21     think -- did you -- were your statements to him that if he

22     contacted you within a month or two, you would throw in some

23     ammo?

24     A.    I don't believe it was a month or two.

25     Q.    Okay.   What do you believe that you said?
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 85 of 146

                                                                          85

1      A.     I believe I said before the next gun show, if I didn't sell

2      this, the gun that he was interested in, I would save it for

3      him.    And I did not sell it, so I saved it for him.

4      Q.     Did you ask him to contact you?

5      A.     I told him he could, yes.

6      Q.     When did you tell him to contact you?

7      A.     I don't remember that part of the conversation.

8      Q.     So you disagree that you told him if he contacted you

9      within a month or two, you would throw in some ammo and make it

10     a better deal for him?

11     A.     I don't recall a month or two.

12     Q.     What was your recollection?

13     A.     Recollection was before the next gun show.

14     Q.     You had asked him to call you before the next gun show?

15     A.     If he had the money -- I don't remember if I did tell him

16     to call me.

17     Q.     Did you give him --

18     A.     He said he wanted to call me, I believe, and I did agree to

19     give him my phone number on a piece of paper.

20     Q.     When he did call, he told you that his friends were

21     interested in buying some Hi-Points; correct?

22     A.     Correct.

23     Q.     Up until that time, you had sold many, many Hi-Points

24     previously?

25     A.     Correct.
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1      Q.    And you told him on that telephone call, you said "I'm

2      going to get them."      Then you asked specifically to his

3      friend -- referencing his friend, you asked about specific.              You

4      said, "Was he specific?"

5            You wanted to know what kind of guns he wanted; correct?

6      A.    Correct.

7      Q.    You were taking an order.      You wanted to know:         What should

8      I buy?

9      A.    I wasn't taking an order.      I was seeing what he was

10     interested in.     And I wasn't sure if he -- if I could even get

11     them, because they were getting hard to find and hard to

12     purchase.

13     Q.    He asked you if he could purchase some Hi-Points from you

14     for his friend; correct?

15     A.    Correct.

16     Q.    You agreed to sell them to him; correct?

17     A.    Yes, if I could find them and if the price was right that

18     he could afford.

19     Q.    In fact, you said you would go get them that day; correct?

20     A.    I was going shopping that day; correct.

21     Q.    And you asked him specifically, referencing the friend,

22     "Was he specific?     What should I buy?"

23     A.    It was general with a .45, 9-millimeter, or .380.

24     Q.    You gave him all those options; right?

25     A.    Correct.
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1      Q.    You told him he can buy a 9-millimeter, got a .45 --

2      A.    No.    He told me he was interested in all of those three

3      calibers.

4                    THE COURT:    Wait until the question is finished before

5      you answer.

6                    THE WITNESS:    Yes, sir.

7                    THE COURT:    Proceed.

8                    THE WITNESS:    Sorry.

9      Q.    BY MR. ATWOOD:       You talked about the different options of

10     calibers; correct?

11     A.    Yes.

12     Q.    And you settled on a -- one 9-millimeter and a .380; right?

13     A.    No, we did not settle on that.       He told me three different

14     calibers.

15     Q.    Did you -- did he tell you that he wanted a 9-millimeter?

16     A.    He did mention the 9-millimeter.

17     Q.    Did he ask you if they -- if he could purchase a

18     9-millimeter for his friend?

19     A.    He did ask me.

20     Q.    Did you give him a price for the 9-millimeter?

21     A.    I did.

22     Q.    What was the price?

23     A.    $200.    I didn't know at the time that I could give

24     him -- or get the gun for him.

25     Q.    I'm not asking the question.        Did he ask if he could buy a
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1      .380 handgun from you for his friend?

2      A.    He did mention that as one of the calibers he was

3      interested in.

4      Q.    When you got off the phone, you knew he wanted a

5      9-millimeter and a .380?

6      A.    And a .45.

7      Q.    Did he --

8      A.    I told him -- go ahead.

9      Q.    Did he ask for a .45?

10     A.    Yes, he did.

11     Q.    Did you talk about rifles as well?

12     A.    No.

13     Q.    When you went to Larry's Sporting Goods, you bought the

14     9-millimeter and the .380; correct?

15     A.    Several guns; yes, that is correct.

16     Q.    And you had already agreed to purchase the 9-millimeter and

17     the .380 for Special Agent Kondo's friends; correct?

18     A.    If they had them in stock, yes, I did.         I wasn't sure what

19     they would have in stock.

20     Q.    Correct.    And let's back up.

21           Special Agent Kondo had no idea that you had been out of

22     stock of Hi-Points; correct?

23     A.    I believe I did tell him that I did not have any at that

24     time.

25     Q.    Okay.   Prior to him calling you on July 11 -- July 22nd,
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1      would he have had any clue that you didn't have any Hi-Points in

2      your inventory?

3      A.    I'm not sure what he knew.       I don't think he knew.

4      Q.    Okay.   Right.    He would have no way of knowing whether or

5      not you had Hi-Points in your possession?

6      A.    Well, I knew it.

7      Q.    Special Agent Kondo didn't know?

8      A.    No, he didn't know it.      I'm sure he didn't know.

9      Q.    So he didn't suggest to you to go to the store?

10     A.    No.    I was on my way to the store when he called.        I was on

11     my cellphone heading that way.

12     Q.    All right.    And you agree that you signed the 4473 form at

13     Larry's Sporting Goods?

14     A.    Correct.

15     Q.    All right.    Let's show the witness Exhibit No. 1002.

16           Do you agree that you checked box 11A "yes"?

17     A.    Yes.

18     Q.    And you have already read this language?

19     A.    Correct.

20     Q.    It states:    "You are not the actual buyer if you are

21     acquiring the firearm on behalf of another person."

22     A.    Not necessarily.

23     Q.    Is that what the form states or not?        I am just reading the

24     form.   Is that what the form states?       Do you agree?

25     A.    That I'm buying the gun for myself; I am the actual
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1      transferee.    Is that what you're asking?

2                   THE COURT:    The question is whether that's what the

3      form says.

4                   THE WITNESS:    Oh, yes, that I'm the actual -- yeah,

5      the actual purchaser, transferee, buyer.

6      Q.    BY MR. ATWOOD:      I know you testified earlier -- you

7      testified you were the one standing at the counter with cash in

8      your hand -- what the form says is that "You are not the actual

9      buyer if you are acquiring the firearm on behalf of another

10     person."

11           Do you agree that's what the form says?

12     A.    The form does say that.

13     Q.    And you're aware that when you purchase firearms, you have

14     to go in first and show your photo identification to establish

15     who you are?     You would agree?

16     A.    Correct.

17     Q.    And then you have to say on the form that you're the actual

18     buyer, that you are not buying it, you are not acquiring it on

19     behalf of another person.       Do you agree?

20     A.    I agree.

21     Q.    The rest was the form is to establish whether you, as the

22     actual buyer, are prohibited from purchasing or possessing

23     firearms.    Do you agree?

24     A.    Agree.

25     Q.    And on the date that you signed this form on July 22nd when
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 91 of 146

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1      you purchased those two Hi-Points, you knew before you walked

2      into that store that you were purchasing the 9-millimeter and

3      the .380 to sell to Special Agent Kondo that same day.           Do you

4      agree?

5      A.    No, I don't.

6      Q.    So you had not made an arrangement to sell Special Agent

7      Kondo the same two firearms previous that day?

8      A.    No.   I told him it would depend on the availability when I

9      got to the store and the price.        And I wasn't sure -- I wasn't

10     sure if those were the actual guns.        So I knew I could sell them

11     at a gun show if he did not want those.

12     Q.    I understand you couldn't see the future and you didn't

13     know if Larry's Sporting Goods would actually have them.          But

14     you told Special Agent Kondo if they had them, you would buy

15     them for him.     Do you agree?

16     A.    I said I would go look for them and try to get them; yes, I

17     think I did say that.      I don't remember the exact conversation.

18                 MR. ATWOOD:    I'm going to ask that we play

19     Exhibit 1023 for the witness.       It's already been admitted into

20     evidence.

21                 THE COURT:    Yes.    Go ahead.

22                 MR. ATWOOD:    We're going to start at 2 minutes and 30

23     seconds in.    We have marked that ourselves as 1023-1.

24           (Audio clip published.)

25     Q.    BY MR. ATWOOD:     You spoke about a 9-millimeter pistol.
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1      A.    He spoke of it, yes.

2      Q.    You asked the question:      "Was he specific?"

3      A.    Yes.

4      Q.    That's what you asked of Special Agent Kondo?

5      A.    Yes.

6      Q.    And in response, he gave you information?

7      A.    Correct.

8      Q.    Okay.   So during that phone call, you asked him if he was

9      specific.

10           You were referring to the friend; correct?

11     A.    Correct.

12     Q.    And then you talk about some other firearms?         You talked

13     about other options.      You spoke of a .45?

14     A.    He spoke of a .45, 9-millimeter, or .380.

15     Q.    Okay.   And when you got off, he agreed he wanted to

16     purchase the .380?

17     A.    He did say he was interested in a .380.

18     Q.    All right.    So, again, when you signed that form, you knew

19     that you were purchasing a 9-millimeter and a .380 to give to

20     Special Agent Kondo that same day?

21     A.    I was buying those guns for the gun show if Agent Kondo did

22     not want -- I was there buying guns for the gun show.

23     Q.    All right.    You told him that you would sell those for

24     $200?

25     A.    Correct.    That was the going price for 9-millimeter C9s.
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1      Q.    That's the going price?      What do you mean?

2      A.    That's what I would try to sell them for, yes.

3      Q.    You had bought many of these guns from Larry's Sporting

4      Goods and other places before?

5      A.    Correct.

6      Q.    So you knew at the time the actual cost.         If someone wanted

7      to walk into a dealer and buy them themselves, the cost was much

8      less?

9            If Special Agent Kondo had wanted to walk in and buy that

10     gun from Larry's Sporting Goods himself, you knew that he could

11     pay a lot less than $200.       Agreed?

12     A.    Not a lot less.     They went up to 189 plus tax.

13     Q.    What did you pay for it that day?

14     A.    I paid -- that's the one at Larry's where I paid the $289

15     for a C9 and didn't realize I paid that much.          And I think the

16     .380 was -- I can't remember what the .380 cost me.

17     Q.    Right.   And Larry --

18     A.    The rifles cost more and --

19     Q.    And you agree that you were overcharged that day?

20     A.    I agree.

21     Q.    Okay.    In fact, that pistol, you had bought that many times

22     previously, and usually it's about $145?

23     A.    No.   They were from 159 to 189, depending on usually how

24     many I bought and what kind of deal I could get.

25     Q.    You had already built yourself some profit into that sale
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1      when you gave him that price of 200?

2      A.    Yes.

3      Q.    You knew you were making money off that?

4      A.    Yes.

5      Q.    That was the whole purpose of doing it; right?

6      A.    Yes.

7      Q.    And all you had to do to make that money was to walk into

8      the store and say that you were the actual buyer of the firearm?

9      A.    Okay.    Yes.

10     Q.    Do you disagree?

11     A.    Yeah -- no.

12     Q.    All right.      On that same phone call, you told him that it

13     would be $350 if he wanted the 9-millimeter rifle?

14     A.    I think I just said rifles were around $350.

15     Q.    Okay.    Well, you were talking about a 9-millimeter.      And

16     you asked whether he wanted a pistol or a rifle, and you gave

17     him the price for both.        Do you agree?

18     A.    I said that the pistol was $200 and that rifles were more

19     money than that, and I forget what I said now.

20                   MR. ATWOOD:    All right.   Let's replay Exhibit 1023 for

21     the witness.     It's the same portion, 2:30 to 3:39.

22           (Audio clip published. )

23     Q.    BY MR. ATWOOD:       All right.   So let's show the witness

24     Exhibit 1031.     It's been admitted, Your Honor.

25                   THE COURT:    Yes.   I'm sorry.
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1      Q.    BY MR. ATWOOD:     You did, in fact, buy a 9-millimeter rifle

2      that day; right?

3      A.    Yes.   I believe that's the 995 model -- yeah, that's it.

4      Q.    The one I just circled?

5      A.    Yes.

6      Q.    You bought many of those previously as well?         You had

7      bought many of those previous to this day on July 22nd?

8      A.    Correct.

9      Q.    You knew that the price was roughly $290?

10     A.    Correct.

11     Q.    So when you told him that the price would be $350, you

12     included your markup in that price; that was your profit;

13     correct?

14     A.    That would have been, yes.

15     Q.    I mean, that's what this was all about:         You would go get

16     the guns, increase the price, and make money.          Do you agree?

17     A.    No.

18     Q.    That's not what you were doing here?

19     A.    No.    No.   I didn't even know that I would be paying 289 for

20     that rifle.    I bought several before that were over $300, 329.

21     He gave me a deal on the rifle and then got me on the C9.

22     Q.    You gave the agent a price that was higher than what it

23     would actually cost him to walk in the store and buy it himself.

24     Do you agree?

25     A.    I do agree with that, yes.
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1      Q.    All right.     Let's talk a little bit more about the profit.

2            You don't deny you were making money off these guns that

3      you were selling?

4      A.    I did make money off of some of the guns I sold, yes.

5      Q.    All right.     What do you mean, "some of the guns"?

6      A.    I didn't make that much off of a gun when -- when we had to

7      throw in, like, a box of ammo or an accessory that raised the

8      price of already a set price and/or I would reduce the price 25

9      to $50.    Just probably break a little better than even.

10     Q.    Many of the guns were handguns that you didn't add anything

11     to.   Agreed?

12     A.    Well, I did add the laser sights to handguns that have the

13     rail system that would take the sights or the flashlights.

14     Q.    Out of the guns that you sold to the agents that have been

15     admitted into evidence, 17 of those were handguns?

16     A.    Okay.   Yes.

17     Q.    None of those had any additions added on to them, any

18     accessories.     Do you agree?

19     A.    I didn't really pay attention to the accessories.

20     Q.    You don't dispute that statement?        You don't have anything

21     to the contrary -- that could show to the contrary that 17 of

22     those guns didn't have any accessories or any additions added on

23     to them?

24     A.    I'm not sure.

25     Q.    All right.     Let's talk about your profits.      Exhibit 1031,
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1      if we could look at that.

2            Up here in the left-hand corner is the Hi-Point .380 that

3      you purchased that day for $145?

4      A.    Correct.

5      Q.    All right.    If we could show the witness Exhibit 1046.

6      Actually, if I could have that exhibit up one more time --

7      sorry -- 1031.

8            If I could have you read the serial number.

9      A.    P8103289.

10     Q.    Okay.   Let's look at Exhibit 1046.

11           If you could read this top serial number.

12     A.    P8103289.

13     Q.    Okay.   What's the cost that you have listed there?

14     A.    145.

15     Q.    That's the same as what's on the receipt?

16     A.    Correct --

17     Q.    From Larry's Sporting Goods?

18     A.    -- plus tax.

19           Pardon?

20     Q.    From Larry's Sporting Goods?

21     A.    Yes.

22     Q.    And this is your paperwork that was seized from your house,

23     a document that was seized from your house.          Do you agree?

24     A.    I agree.

25     Q.    It says up here 10/5 of '15.       Was that a date?
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                                                                                   98

1      A.    Yes, that would be a date.       Uh-huh.

2      Q.    What date is that?

3      A.    It's 5th of October --

4      Q.    Okay.

5      A.    -- 2015.

6      Q.    What would that date mean to you?

7      A.    Probably after a gun show.

8      Q.    Okay.   And it says "total sales" on it; right?            The next

9      line down is total sales?

10     A.    Yes, total sales.     Yes.

11     Q.    In fact, you kept some limited records about your own sales

12     and how much of a profit you were making during the gun shows

13     selling firearms.     Do you agree?

14     A.    Yes, I agree.

15     Q.    That's what this list is?

16     A.    Yes.

17     Q.    Okay.   What's the price that this firearm sold for, that

18     top one?

19     A.    175.

20     Q.    Do you agree that this .380 handgun is the same firearm

21     that you sold to Special Agent Kondo on July 22nd, 2015?

22     A.    Yes.

23     Q.    And when you sold it to Special Agent Kondo, in fact, the

24     price wasn't 175; you sold it to him for $200?

25     A.    Okay.
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                                                                              99

1      Q.    Do you disagree?

2      A.    I thought I did sell it for 175.

3      Q.    It's your testimony that you sold it for 175?

4      A.    Yes.

5                    MR. ATWOOD:   Let's have the witness listen to

6      Exhibit 1023.     This is the second clip, and it starts at time

7      4 minutes and 45 seconds.

8            (Audio clip published.)

9      Q.    BY MR. ATWOOD:     All right.    So do you agree that

10     Special Agent Kondo said he was going to pay 799 for the H & K;

11     he would bring an extra 400 for the handguns, the two guns that

12     he agreed to purchase from you?

13     A.    Okay.

14     Q.    You had already given him a price on the 9-millimeter that

15     it would be 200; we just covered that in our testimony.          You

16     agree you told him 200 for the 9-millimeter; correct?

17     A.    I agree.

18     Q.    So the .380 was $200?

19     A.    I just said -- we only talked about the price of the

20     9-millimeter, I believe.

21     Q.    How much were you paid that day for those guns, all three

22     total?

23     A.    I would have to do the math, sir.

24     Q.    All right.    Let's show you Government's Exhibit 1024 and

25     start that at 2 minutes and 30 seconds and go to 2 minutes and
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 100 of 146

                                                                                100

1       38 seconds.     1024-1.

2             (Audio clip published.)

3       Q.    BY MR. ATWOOD:      So that was where you sold the guns to

4       Special Agent Kondo; correct?

5       A.    Correct.

6       Q.    You told him, "1200, and I'll give you a dollar back."

7       A.    Okay.    Yes.

8       Q.    Is that what you said?

9       A.    Yes.

10      Q.    So the total price there would be 1199?

11      A.    Correct.

12      Q.    That would be 799 for the H & K?

13      A.    Correct.

14      Q.    200 for each of the other firearms; the 9-millimeter, and

15      200 for the .380?

16      A.    Yes.    That's what the math does work out to be, yes.

17      Q.    So let's look at Exhibit 1036 again -- 1046.         Excuse me.

18            All right.      So you would agree that when you say that you

19      sold it for 175, in fact, your profit was even higher than what

20      your own records show?

21      A.    Yes.

22      Q.    And you didn't sell it on October 5th, either?         You would

23      agree you sold it on July 22nd?

24      A.    Yes.

25      Q.    Okay.    Let's look at Exhibit 1031 again.
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                                                                         101

1             The second gun we look at is the JCP40 serial number here.

2             Can you read that serial number?

3       A.    X723041.

4       Q.    What's the cost you paid for that?

5       A.    160 plus tax.

6       Q.    And that's a JCP 40?

7       A.    Correct, 40-caliber, mm-hmm.

8       Q.    All right.    If we could look at Exhibit 1046.

9             That serial number and that cost of 160, is that the same

10      as it appears on the other one that you just read?

11      A.    No.    It was less money.

12      Q.    The cost was less money?

13      A.    I believe so.

14      Q.    All right.    Let's look back at Exhibit 1031.

15      A.    Well, it was 160.     Yes.

16      Q.    All right.    So you sold that firearm by October 5th of

17      2015.   Do you agree?

18      A.    Yes.

19      Q.    And if we can look at Exhibit 1046.

20            By your math, you had sold it for $185, so you made some

21      profit on that gun?

22      A.    Yes, I did.

23      Q.    All right.    And the third gun, the third serial number

24      there, 30735701, $270?

25      A.    Yes.
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                                                                             102

1       Q.     Okay.   Go back to 1031.

2              You would agree that was that firearm?

3       A.     Yes, that's the firearm.

4       Q.     Okay.   So those are the other firearms you bought that same

5       day?

6       A.     Correct.

7       Q.     You had already sold those by October 5 of 2015?

8       A.     I believe I did, yes.

9       Q.     For a profit?

10      A.     I don't remember what I sold it for.       Can we go back?

11      Q.     Sure.   We'll look at 1046.    At least by your records, you

12      are saying you made $20 on that one?

13      A.     Less.   I paid tax, 270 plus tax.     And I did sell it for

14      290.

15      Q.     All right.   Now, you met -- you saw Special Agent Kondo

16      again after the transaction on July 22nd?

17      A.     Excuse me?

18      Q.     You saw Special Agent Kondo again after that transaction

19      where you sold him the firearms; correct?         You saw him on

20      September 12 of 2015?

21      A.     Yes.

22      Q.     At the gun show?

23      A.     He was my best customer.

24      Q.     Up until the point of this sale, had you ever had any

25      contact with him that wasn't -- that hasn't been admitted into
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                                                                                   103

1       evidence, all of the recorded the phone calls both -- let me

2       back up.

3             You met with him one time on July 11 in person.            Do you

4       agree?

5       A.    Yes, I believe that's right.

6       Q.    You spoke to him for a few brief minutes; correct?

7       A.    I don't recall.

8       Q.    And then you had the three phone calls, one on July 20th

9       and two on July 22nd?

10      A.    Yes.

11      Q.    And then you sold him the firearm on July 22nd?

12      A.    Yes.

13      Q.    You're not suggesting there was some other contact in there

14      that hasn't been presented to the jury; is that correct?

15      A.    Correct.

16      Q.    All right.    Then you saw him again on September 12 of 2015

17      after you sold him the firearms on the 22nd of July?

18      A.    Yes.

19      Q.    And you recall he told you -- Special Agent Kondo said, "My

20      friend sends you thanks for the Hi-Points"?

21      A.    Correct.

22      Q.    He also asked you if you had any Hi-Points left.            Do you

23      recall that?

24      A.    I don't -- I don't recall that.       It's been a while.

25      Q.    And do you recall telling him, "I don't have any right now.
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1       That's something I have got to restock"?

2       A.    Correct, maybe.

3       Q.    Well, had you sold out of the Hi-Points?

4       A.    Yes.   It got to the point where they were -- the other

5       vendors were buying them on Friday before we even opened the

6       show.

7       Q.    You told him that same day that most of the guns you sold

8       are new.     Do you agree?

9       A.    Yes.   That's gun-show talk.

10      Q.    So you would agree that not everything you told him was

11      true; you were trying to sell him things at gun shows?           Is that

12      what you're saying?

13      A.    No, because they weren't all new, and I never said they

14      were all new.

15      Q.    You told him most of the guns are new; right?

16      A.    Yes.   Okay.

17      Q.    Do you disagree?

18      A.    I don't -- I don't recall.

19      Q.    And then you had a talk with him about how you went back to

20      the dealer in Nampa after you had sold him those Hi-Points on

21      July 22nd.     Do you remember that?

22      A.    I don't really recall that, sir.

23      Q.    Do you remember telling him that you sold those to him and

24      then went right back to the dealer to buy more?

25      A.    I don't remember that.
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1       Q.    All right.    Let's listen to Exhibit 1028.      It starts at 3

2       minutes and 30 seconds.

3             (Video clip published.)

4       Q.    BY MR. ATWOOD:    Did you hear that, sir?

5       A.    Yes, I did.

6       Q.    So now do you recall that you told him after you sold them,

7       you went right back to the dealer in Nampa to buy more?

8       A.    Yes.

9       Q.    And then you went on to tell him that you were going to get

10      your Hi-Points from two other guys in the future; some other

11      people were going to sell you Hi-Points?

12      A.    Yes.    I knew other places to go to buy Hi-Points, yes.

13      Q.    Because Larry's Sporting Goods wouldn't sell them to you

14      anymore?

15      A.    Not that he wouldn't sell them to me.        He didn't have them

16      anymore.     And I did catch that $289 C9 and how he overcharged

17      me, and I didn't really want to do business with him anymore.

18      Q.    Oh, you already knew that?

19      A.    Before I went back?     Yeah.

20      Q.    So that same day when you went back, you had already known

21      he had overcharged you?

22      A.    I don't believe I went back the very same day.         I don't

23      believe I did that.

24      Q.    Okay.

25      A.    I don't -- I do not recall going back the very next day.          I
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1       went back later on.

2       Q.    Okay.   Well, do you remember --

3       A.    No, I don't think I ever went back to Larry's after that.

4       I never did go back there.

5       Q.    So it's your testimony after you purchased the guns that we

6       just talked about in the Exhibit 1032, those Hi-Points, you

7       didn't go back?

8       A.    No.

9       Q.    All right.    So the clip that we just listened to, do you

10      remember saying you went right back to the dealer in Nampa to

11      buy more?

12      A.    Okay.   Yeah.

13      Q.    Do you remember saying that?

14      A.    No.

15      Q.    All right.    Let's play Exhibit 1028 again for the witness,

16      1028-2.     We'll start at 3 minutes and 30 seconds.

17            (Video clip published.)

18      Q.    BY MR. ATWOOD:    So did you tell Special Agent Kondo after

19      you had sold those to him, you went right back to get more from

20      the dealer?

21      A.    Yes, I did say that.

22      Q.    All right.    Later in the conversation, toward the end of

23      the transaction, after you sold to Special Agent Kondo another

24      firearm, do you agree that he -- you talked about an upcoming

25      gun show?
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1       A.     Yes.

2       Q.     And Special Agent Kondo made a specific reference to

3       bringing friends with him to the next gun show in November?

4       A.     Correct.

5       Q.     And as soon as he made the reference to bringing friends to

6       the gun show, do you remember telling him:         Just for general

7       purposes, when you're buying guns, just say they are for you.

8       Because if you fill out a form, the first question on the form

9       is "Are you the" -- "Are you buying these for yourself?" you

10      always want to say "yes"?

11      A.     Yes.

12      Q.     Do you remember telling him those statements?

13      A.     Yes.

14      Q.     So after Special Agent Kondo explained to you he was

15      bringing some more friends, you pulled him aside and kind of

16      explained to him that he needed to say that the guns were for

17      him?

18      A.     I did not pull him aside.     It was while he was walking away

19      we had that conversation.      To this day, I don't know why.

20      Q.     Well, you had previously talked to him on the phone, and he

21      had ordered the 9-millimeter and the .380 for his friends.         He

22      told you that was for his friends; correct?

23      A.     Correct; he did say that.

24      Q.     The ones that you sold to him on July 22?

25      A.     Okay.   Yes.
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                                                                               108

1       Q.    Do you agree?

2       A.    Yes.

3       Q.    And then on this date, on September 12, he made another

4       reference to friends coming with him?

5       A.    Yes.    I would have sold to his friends individually.

6       Q.    Okay.    But it was in reference to him talking about

7       bringing his friends to the gun show, that's at the point that

8       you decided to tell him:      Hey, you always want to check "yes" on

9       the form?

10      A.    Yes.

11      Q.    And that's what you do when you go to buy guns; you always

12      check "yes" on the form?

13      A.    Yes.    Because I'm the buyer.    I have the money, the ID.

14      Kondo had the money, and he -- and I sold him the guns, so they

15      were his guns.

16      Q.    Right.   Right.   You were acquiring them for Special

17      Agent Kondo.     Agreed?

18      A.    I purchased them so that, if he wanted to, he could buy

19      them.

20      Q.    We already covered you were the one at the counter with

21      cash in hand.     But you always checked "yes" on the box even if

22      you are acquiring them on behalf of another person, don't you?

23      A.    I never bought one for a specific person, no.         I always

24      bought them for the gun show or for my personal or for gifts.

25      Q.    So it's your testimony when you went to Larry's Sporting
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1       Goods on July 22 to buy a 9-millimeter and a .380, you didn't

2       plan to sell those to Special Agent Kondo that same day?

3       A.    I wanted to give him the opportunity to buy them.          I wasn't

4       for sure that he was going to buy them.

5       Q.    He had made an arrangement to meet you, had he not?

6       A.    For the 790 -- or the H & K.

7       Q.    Correct.

8       A.    Yes.

9       Q.    You had given him prices for the other ones, and he told

10      you what he wanted.       Agreed?

11      A.    He told me -- he did not tell me exactly what he wanted.

12      He said .45, 9-millimeter, or two .380.        And I asked him about

13      if he wanted rifles.      He said no; the guy wanted pistols.       Just

14      general conversation.

15            I had several guns in the car that I had just purchased

16      from Larry's guns when I met with him.

17      Q.    When you got off the phone with Special Agent Kondo on

18      July 22 before you went to Larry's Sporting Goods, you already

19      knew when and where you were meeting Special Agent Kondo to sell

20      him firearms.    Do you agree?

21                   MS. FYFFE:    Objection, Your Honor.    We have been over

22      this many times.

23                   THE COURT:    Well, I think we are starting to beat the

24      dead horse, but I'll give you some leeway, Counsel.          It might be

25      time to move on.
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1                     MR. ATWOOD:    I think after that question, we're

2       probably done.

3                     THE COURT:    All right.

4       Q.    BY MR. ATWOOD:       Prior to going to Larry's Sporting Goods,

5       you had already made arrangements of when and where you were

6       going to meet Special Agent Kondo to sell him those firearms

7       that you spoke about on the phone.        Do you agree?

8       A.    I agree that I was going to meet him to sell him at least

9       the H & K, yes.

10      Q.    All right.    You know the form well.      When you talked to

11      Special Agent Kondo on September 12, you told him exactly what

12      the first question on the form was?

13      A.    Correct.

14      Q.    You read it to him, so you're familiar with that form?

15      A.    Yes, I am.

16      Q.    You've filled out that form, many, many, many times?

17      A.    Yes.

18      Q.    And after you talked to him about always checking the form

19      "yes," you went on to explain it didn't matter to you, but if

20      someone else came along and heard, they might want to tell on

21      us.

22            Do you remember saying that?

23      A.    Yeah.    I'm not sure if it was in reference to 11A, but it

24      was in reference to I was having a hard time buying from other

25      dealers at the gun show because they were jealous of me having
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1       so many people at my table.

2       Q.    Immediately after the conversation that you had with

3       Special Agent Kondo about marking "yes" on the question, do you

4       recall telling him that if someone came along and heard you

5       talking, they might want to tell on us?

6       A.    I don't recall the exact conversation, no.

7       Q.    So what -- I didn't understand your testimony.         You think

8       that you were referencing someone else when you said "someone

9       might want to tell on us"?

10      A.    Say again.

11      Q.    What were you speaking of when you said that "someone might

12      want to tell on us"?     What were you referring to?

13      A.    I was referring to the other dealers in the gun show.

14      Q.    Okay.   They might want to tell on you what?

15      A.    Tell each other not to sell me any more guns at a good

16      deal.

17      Q.    So when you told Special Agent Kondo, "If someone else

18      heard, they might want to tell on us," it's your testimony that

19      you were just referencing you didn't want other dealers to hear?

20      A.    I don't even know why we had that conversation or why that

21      even came up.    But it was not -- it was -- we have already

22      testified to that question.

23      Q.    Do you dispute that you made that statement, "If someone

24      overheard us, they might want to tell on us"?

25      A.    I believe I did say that.      I'm not sure.    Is that what I
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                                                                          112

1       said?

2       Q.    I'm asking you, sir.

3       A.    I don't recall.     That was a long time ago.

4                   MR. ATWOOD:    We're going to replay the other portion

5       of Exhibit 1028.

6             (Video clip published.)

7                   THE COURT:    What is the starting point, Counsel?

8                   MR. ATWOOD:    Excuse me, Your Honor?

9                   THE COURT:    Where are you starting this?

10                  MR. ATWOOD:    We're trying to find the exact -- once we

11      find it, I'll give you the exact.

12            Starting at 11:10 of Exhibit 1028 -- starting at 10:59.

13            (Video clip published.)

14      Q.    BY MR. ATWOOD:     Did you hear that part where you said,

15      "Someone may want to tell on us"?

16      A.    Yes, I did.

17      Q.    Do you remember making that statement?

18      A.    Yes, I do now.

19      Q.    Is it still your testimony that when you said that, you

20      were referring to you didn't want other gun dealers to hear what

21      you were talking with him about?

22      A.    Yes, I did.

23      Q.    What was your purpose in making that statement, "We

24      wouldn't want someone to tell on us"?

25      A.    I have no idea, other than I didn't want the other dealers
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1       to get jealous of me.

2       Q.    To get jealous of you?

3       A.    Yeah.   Because I'm a private seller, and I was having

4       better sales than most of the other people, even the private

5       sellers.    They weren't willing to mark down or to come off of

6       their prices, and I usually did.

7       Q.    Okay.   So I understand your testimony to acknowledge there

8       were FFLs selling at the gun show?

9       A.    Yes, there was FFLs selling as well.

10      Q.    And you were making more money than them?        You were worried

11      they were going to get jealous because you were making more

12      money?

13      A.    No.   I was worried they would not give me a good deal when

14      I bought from them.

15      Q.    How would your speaking with Special Agent Kondo have

16      anything to do with you getting a good deal from them?

17      A.    I just answered the question.

18      Q.    I just didn't understand your answer.

19            You didn't want them to hear Agent Kondo speaking to you

20      because, somehow, you thought if they were talking to him, they

21      wouldn't give you a good deal?

22      A.    I believe that's what I was trying to say, yes.

23      Q.    A few minutes ago, you said that the other dealers at the

24      gun show were getting jealous of you.

25            Do you remember making that statement?
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1       A.     Yes.

2       Q.     Why did you make that statement?

3       A.     Because I was not getting the deals that I usually would

4       get as time went on.

5       Q.     Why would they -- why did you say that the other dealers

6       were jealous of you?     Jealous of what?

7       A.     Well, I didn't know -- I don't know how to word that, but

8       they were not giving me the good deals that I was used to

9       getting prior to the last few gun shows.

10      Q.     Okay.   I understand you're saying the dealers weren't

11      giving you good deals.      You earlier said they were jealous of

12      you.

13             Why do you believe the other dealers were jealous of you?

14      A.     That's just the word I used to explain what I'm trying to

15      tell you now.     I mean, that was a word I used, but it was

16      because I was making more sales; not necessarily making more

17      money, but I was making more sales.

18      Q.     And how --

19      A.     I never said I made more money than an FFL dealer.

20      Q.     How do you know that you were making more sales?

21      A.     Because the people were buying my guns off my table.

22      Q.     Business was good?    Is that what you're saying?

23      A.     From time to time, we would have a good show, yes.        There

24      was one show we had where we made $17 for the whole show.

25      Q.     Well, you're saying the dealers were jealous.        Sounds like
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1       you were selling a lot more than other people.         Is that fair to

2       say?

3       A.     I don't believe -- I don't know how many the others sold.

4       I'm just saying that I did not get as good a deal as I did prior

5       to a few months prior to this -- the later shows.          Yeah.

6       Q.     Let me ask you about your conversation with Special Agent

7       Zimmerman on November 12 of 2015.

8              You told Special Agent Zimmerman that you were buying the

9       guns at Cabela's and other FFLs and increasing the price to sell

10      them.    Do you agree?

11      A.     Correct.

12      Q.     And when Special Agent Zimmerman asked you why people would

13      come to buy the guns from you, you stated, "Not everyone goes to

14      Cabela's"?

15      A.     Correct.

16      Q.     Right?

17      A.     Yeah.    They go to other places, too.

18      Q.     Okay.    When she asked why they would come to you at the gun

19      show, you were saying that not everyone goes to a place like

20      Cabela's?

21      A.     I did not -- did I say that?     I don't believe I said that.

22      Q.     That's my question for you.     What did you say?

23      A.     What did I say?

24      Q.     Okay.    You would agree there is people who don't want to

25      buy guns at FFLs; right?
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1       A.    There are some people who do not want to buy, yes.

2       Q.    There are some people who don't want to fill out that

3       paperwork?

4       A.    Correct.

5       Q.    There are some people who don't want to go through a

6       background check?

7       A.    Maybe.   I'm not sure.

8       Q.    All right.    Another statement you made to Special Agent

9       Zimmerman is that, "Right now," you said, "I'm really down on

10      guns."

11      A.    Correct.

12      Q.    So the 27 firearms that were seized in your trailer, do you

13      agree with that number?

14      A.    How many?

15      Q.    27.

16      A.    27?   Okay.

17      Q.    Out of the trailer.     Do you agree?

18      A.    Yeah.    Okay.   Yes.

19      Q.    In fact, 27 was a low number.       Your inventory -- your gun

20      inventory was usually higher than 27.        Do you agree?

21      A.    Not much higher.     But, yes, it was higher than 27

22      sometimes; sometimes it was less.

23      Q.    All right.    At some point during your conversation with

24      Special Agent Zimmerman, you were confronted with the fact that

25      you were buying -- you were engaged in the repetitive purchase
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1       and resale of firearms for livelihood and profit.          You were

2       doing it to make money.      You were making a business out of this.

3             Do you remember that?

4       A.    I was trying to, yes.

5       Q.    That you were trying to make money?

6       A.    Yes, trying to make a business.

7       Q.    That was your intent, was to make money; correct?

8       A.    Correct.

9       Q.    By selling the firearms?

10      A.    Yes.

11      Q.    Okay.   When she confronted you with that, that you were

12      trying to sell the guns for money to engage in -- to make a

13      business out of it, your response to that was that you then

14      tried to say that that's not what you were doing.          Do you agree?

15            You suggested that you weren't just selling them; that you

16      would keep the guns, hang on to them, and shoot them, and stuff

17      like that?

18      A.    That was part of it, yes.

19      Q.    All right.    When you spoke to Special Agent Zimmerman, you

20      never once told her that you had looked into getting a federal

21      firearms license; right?

22      A.    I don't believe I did, no.      She didn't ask.

23      Q.    You never -- when she confronted you, you didn't tell her

24      that you sent off to ATF and sought that application?

25      A.    I don't recall.    That was a long time ago.       I don't believe
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1       she asked me about that.      I can't remember exactly.

2       Q.     You never told her that you had read the question and that

3       you didn't think you needed an FFL?        Do you disagree?

4       A.     Did we talk about -- is -- I don't remember.        I --

5       Q.     Was it -- November of 2015, was it a -- it wasn't something

6       you would easily forget, your conversation with an ATF agent, is

7       it?

8       A.     I was numb that day.    I was -- didn't understand what was

9       going on.

10      Q.     Okay.

11      A.     I don't recall.    I'm 70 years old.    I got a bad memory as

12      it is.

13      Q.     Did you ever tell Special Agent Zimmerman during that

14      conversation that you had read the FFL application form?

15      A.     I do not recall.

16      Q.     Did you ever tell her that you had read the question that

17      made you think you didn't need an FFL?

18      A.     I was a private seller, and I was selling at gun shows.      I

19      did not think I needed an FFL.

20      Q.     That's not my question, sir.

21      A.     I don't remember what I said to Agent Zimmerman on that

22      day.

23      Q.     And you would agree that that question that you referenced

24      that you -- that you -- on the form, the form 7, the application

25      that you were talking about earlier, the question that you said
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1       caused you some concern and confusion?

2       A.    Yes, the question of the store hours.

3       Q.    Right.    Well, the question is about whether or not you

4       intend to sell only at gun shows.

5       A.    Correct.

6       Q.    And what it says is:      "Do not submit an application."   "If

7       yes, do not submit application."

8       A.    It does say that.

9       Q.    It doesn't tell you you don't need a federal firearms

10      license.   You would agree; correct?

11      A.    I interpreted it as I did not need one.

12      Q.    And you didn't take any follow-up action to -- you read

13      that form one time and just assumed that you didn't need a

14      license?

15      A.    Okay.    Yes.

16      Q.    I'm asking you:       Did you make any effort to check into it?

17      A.    I said yes.

18      Q.    You made some effort to check into it?

19      A.    No, I did not.

20      Q.    You knew other FFLs were selling at the gun shows?

21      A.    Yes, I knew other FFLs, yes.

22                    MS. FYFFE:    Asked and answered, Your Honor.

23      Q.    BY MR. ATWOOD:       In fact --

24                    THE COURT:    Counsel, again, we are kind of plowing the

25      same ground.
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1       Q.    BY MR. ATWOOD:    Okay.   Well, you would agree with me,

2       Mr. Clyne, that you weren't selling only at gun shows?

3       A.    I only sold at gun shows.

4       Q.    You did?

5       A.    Yes.

6       Q.    So you have never sold a firearm outside of a gun show?

7       A.    Maybe a long time ago, in my early 20s.        I sold guns at the

8       police station and to sheriff deputies and to --

9       Q.    How about on July 22 of 2015 in the parking lot to

10      Special Agent Kondo?

11      A.    That gun was already scheduled for him at -- we made

12      contact at the gun show for that gun.

13      Q.    You sold him three guns that day.

14      A.    Yes.    I wasn't sure if he would buy those other two guns.

15      Q.    Did you sell Special Agent Kondo three guns in the parking

16      lot on July 22nd?

17      A.    Yes, I did.

18      Q.    You would agree you weren't selling only at gun shows?

19      A.    The initial contact was made at the gun show.         I considered

20      that a gun show purchase.

21      Q.    You agree you told Special Agent Kondo on the July 11th

22      transaction that "I want to sell this stuff.         It's not a

23      collection"?     Do you recall making that statement?

24      A.    Yes.    I do.

25      Q.    Okay.
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                                                                                121

1       A.    I normally say, "This is not a museum piece.         It is for

2       sale."   That, again, is gun-show talk.

3       Q.    You agree that on November 1st of 2015, when Special

4       Agent Maguire and another female purchased six firearms from you

5       that you told them, "There is no paperwork"?

6       A.    I'm not sure of the date, but I do remember selling six

7       guns to what I found out later was ATF agents.

8       Q.    Do you remember telling that agent, "There is no

9       paperwork"?

10      A.    Yeah.   With a private dealer, you don't need paperwork.

11      Q.    And you told Agent Zimmerman when she purchased the

12      firearms from you, there was no paperwork and no problems.             Do

13      you agree?

14      A.    Yes.

15      Q.    Now, you've purchased -- yourself, you have purchased

16      hundreds of firearms and filled out many, many 4473s?

17      A.    Correct.

18      Q.    You know exactly what paperwork is required when someone

19      purchases a firearm?

20      A.    Yes, from an FFL dealer.

21      Q.    And paperwork -- when you say "no paperwork," when you were

22      telling the agents and customers they didn't have to do any

23      paperwork, that meant something, didn't it?

24      A.    Okay.   Yes.

25      Q.    What did it mean?     Why would you say "no paperwork"?     What
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 122 of 146

                                                                               122

1       were you telling them?

2       A.    Because I was not an FFL dealer; I was a private seller.

3       And I didn't have the forms even available to me, nor did I have

4       any way to do a background check because I did not have an FFL

5       because I was a private dealer.

6       Q.    So when you told them "no paperwork," what you were telling

7       them is you don't have to do the Form 4473.         Is that what you

8       meant?

9       A.    Yes.

10      Q.    And when you told Special Agent Zimmerman there would be no

11      problems, what did you mean by that?

12      A.    Just a rhetoric, just talking.       No paperwork, no problem.

13      Q.    You know that if someone fills out --

14      A.    The door is -- the gun is out the door.        The price is out

15      the door.    I said a lot of things.

16      Q.    It means if she has cash, the gun is leaving with her that

17      day; there would be no problems; correct?

18      A.    There is no waiting period in the state of Idaho.

19      Q.    You're aware that one of the reasons for filling out the

20      4473 when a dealer is selling guns is to make sure that person

21      is not prohibited.     Do you agree?

22      A.    I agree.

23      Q.    And you would agree when someone -- when a dealer is

24      selling a firearm, they have to also conduct a background check?

25      A.    If the purchaser does not have a concealed weapons license,
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1       yes, they do.

2       Q.     So when you told Special Agent Zimmerman that there was no

3       problem, that meant something as well.        Do you agree?

4       A.     Meant what?

5       Q.     You said it.   What did you mean when you said "no problem"?

6       A.     That was rhetoric.    I was just saying no problem, no

7       paperwork, no taxes.     I paid the taxes on every purchase that

8       I -- that a customer made.      Because I hate sales tax when you're

9       buying something and you only have enough money to pay the --

10      ask the -- get the purchase price.

11      Q.     So you testified earlier that you -- if you would have just

12      known you needed a license, you would have went and got one?

13      Did I get that right?

14      A.     Say that again.

15      Q.     You testified earlier that if you had only known you needed

16      a federal firearms license, you would have just went and got

17      one?

18      A.     I would have tried again to get one, yes, or I would have

19      packed up my trailer with my guns and locked the trailer, and

20      they wouldn't have been for sale at the gun show.

21      Q.     Okay.   But if you had a federal firearms license and you

22      were selling at gun shows, you wouldn't be able to say "no

23      paperwork" when you were selling to your customers; right?

24      A.     Correct, because I would be an FFL dealer, and I would have

25      those forms available to me, and I could do background checks.
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1       Q.    And you wouldn't be able to tell them there would be no

2       problems, either?

3       A.    No.   There shouldn't be a problem -- if they are legal to

4       buy a gun, there should be no problem.

5       Q.    Right.   So if you were an FFL and you had to fill out the

6       4473, you would have to do both the paperwork and conduct the

7       background check?

8       A.    If they did not have a concealed weapons license, I would

9       have to fill out a background -- or do a background check.

10      Q.    You would agree that there is a premium to be paid for

11      selling firearms to someone when there is no paperwork and no

12      background check?

13      A.    I don't know that there is a premium.

14      Q.    In fact, that's what your business model was built on, was

15      that you wanted to let people know there would be no paperwork,

16      no problems, and you knew you could charge them extra because

17      they were going to walk out the door with a firearm that day?

18      A.    I don't believe that was my intention, no.

19      Q.    Okay.    A few moments ago you stated how some of the other

20      FFLs at the place were jealous of you that your sales were so

21      good.

22            You think there is a reason why people were buying from you

23      with no paperwork and no problem?

24      A.    No.   I said that because they were not giving me better

25      deals than I used to -- that I was used to getting at the gun
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1       shows.

2       Q.    And you're a gun guy; you know a lot about guns?

3       A.    Not as much as I should, but I do know a little bit about

4       guns, yes.

5       Q.    You have purchased hundreds of them?

6       A.    Yes.

7       Q.    And so it never struck you that when you would drive into

8       Cabela's and have to fill out the paperwork and do the 4473, it

9       never struck you that:       Hmm, this is strange.    Every time I buy

10      a gun, I have to fill out all this paperwork, but I can turn

11      around and sell it to anyone I want and tell them no paperwork,

12      no problem, and just let them walk out with it?

13      A.    I didn't -- is there a question?

14      Q.    Yeah.    That thought never struck you?

15      A.    No, never did.

16      Q.    On your trip to the store on any one of 87 or more

17      transactions where you purchased firearms, you never considered

18      why you had to fill out paperwork after showing photo

19      identification and certifying you were the actual buyer and that

20      you weren't prohibited, that never occurred to you why you could

21      just turn around and sell, making money, to other people without

22      doing that same thing?

23      A.    Never occurred to me.

24                    MR. ATWOOD:   Thank you.   Those are all my questions.

25                    THE COURT:    Redirect, Ms. Fyffe.   We're going to break
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1       in about five minutes, but let's go ahead.

2                     MS. FYFFE:   Okay.

3                                  REDIRECT EXAMINATION

4       BY MS. FYFFE:

5       Q.    Steve?

6       A.    Yes.

7       Q.    Up until September 1st of 2015, were you employed?

8       A.    Yes.    I was a bus driver at the Meridian School District.

9       Q.    And did you stop working there?

10      A.    Yeah.    I had a really bad accident, and that changed my

11      whole life.

12      Q.    Was -- how long after the accident was the September gun

13      show?   Do you recall?

14      A.    I think it was on the 17th.      I'm not really sure.

15      Q.    Then when did you say the accident was?

16      A.    September 1st.

17      Q.    Okay.    Were you feeling very well at that --

18      A.    No.    I was -- I was really hurting.       I had hurt my back,

19      and I hurt my leg and my shoulder.        And it gave me carpal tunnel

20      in both hands.     And the doctor said I had old elbows, whatever

21      that is.

22      Q.    Counsel asked you about if you had good times and bad times

23      financially between 2012 and 2015.

24      A.    Right.

25      Q.    And could you explain more about what you meant when you
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1       said yes?    What was the good to the bad?

2       A.    Well, yeah.    The electrical business went down the tube

3       when I had my knees replaced.       I had both knees at the same time

4       replaced.    And that made it impossible for me to climb ladders

5       or to kneel down for several, several -- actually, years.        And I

6       never really recovered.

7       Q.    And then specifically between 2012 and 2015, what was a

8       good -- was there a good economic event in 2012, 2013?

9       A.    Well, yes.    My father-in-law had passed away, and we had

10      gotten an amount of money.

11      Q.    And then did that money go away?

12      A.    It went for a house, yeah.      And -- oh, well --

13      Q.    Were there two inheritances, Steve?

14      A.    Yes.   There were two inheritances, yes.

15      Q.    Do you want to clarify?

16      A.    Yes.   When my father-in-law died, there was some

17      inheritance.    Then when my mother-in-law died, there was more

18      inheritance.

19      Q.    Do you remember when your mother-in-law died?

20      A.    Oh, no.   No, I don't.

21      Q.    All right.

22      A.    It was a few years after my father-in-law died.

23      Q.    Counsel had asked you about wholesale on guns, and I'd like

24      you to clarify.

25            Had you discussed earlier whether it was worth your while
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1       to have wholesale and soft goods?

2       A.    Yeah.    Well, I thought I would be able to -- by getting the

3       sales tax number, I thought it would help me to buy -- to

4       purchase soft goods at a discount on a wholesale market, yes.

5       Q.    And did that pan out?

6       A.    No, it did not.       It was cheaper to buy at different

7       sporting goods and different stores.        The stuff that was on sale

8       would be better than the wholesale price.

9       Q.    Is that soft goods you're referring to or firearms?

10      A.    Soft goods.

11      Q.    Now, counsel has asked you about the FFLs at the gun shows.

12            Did you believe any of those -- was it your understanding

13      whether those FFLs did business only at gun shows?

14      A.    No.   They all had --

15                    MR. ATWOOD:    Objection.   Foundation.

16                    THE COURT:    I'm sorry?

17                    MR. ATWOOD:    Objection.   Foundation.

18                    THE COURT:    Sustained.

19      Q.    BY MS. FYFFE:    What other FFLs were you familiar with that

20      did business at the gun shows?

21      A.    Buckhorn -- well, there are so many.        I can't remember all

22      of them.    Buckhorn usually had a great big sign, though, and he

23      had the most tables.

24      Q.    Is Buckhorn -- are you aware of whether or not Buckhorn has

25      a store?
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 129 of 146

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1       A.    He does have a store, yes.

2       Q.    Can you remember another FFL, specific?

3       A.    I just can't recall right now.       I'm sorry.    Well, Boise

4       Gun, they also would have a table on occasion, at the gun show.

5       But they also had a brick-and-mortar store.

6       Q.    What relation did a brick-and-mortar store have to a -- to

7       your ability to get an FFL?

8       A.    If you have brick --

9                    MR. ATWOOD:   Objection.   Foundation.

10                   THE COURT:    Sustained.

11      Q.    BY MS. FYFFE:    Recall on the application for the federal

12      firearms license?

13      A.    Yes.

14      Q.    That you mentioned being confused about business hours?

15      A.    Correct.

16      Q.    Do you want to explain that a little?

17      A.    Well, I knew I wanted -- I was considering a

18      brick-and-mortar, but I knew I just wanted to sell at gun shows

19      for the first part of it, yes, for a long time.

20      Q.    Did you have an understanding about whether a

21      brick-and-mortar was required?

22      A.    Yes.   I understood that it was required to have a

23      brick-and-mortar store before you could get an FFL license at

24      that time, yes.

25      Q.    When you saw an FFL at a gun show, did you draw any
     Case 1:16-cr-00115-BLW Document 80 Filed 07/13/17 Page 130 of 146

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1       conclusions about whether they must have one?

2                      MR. ATWOOD:   Objection.   Speculation.

3                      THE COURT:    Overruled.   The question is what

4       conclusions he drew, not what he might have drawn or some

5       speculative response.

6              You may testify only as to what conclusions you drew, if

7       any.

8       Q.     BY MS. FYFFE:    Did you recall the question, Steve?

9       A.     Yeah.    Could you recall the -- or repeat?

10      Q.     I will try.

11             When you saw an FFL at a gun show, did you draw any

12      conclusions about whether they also would have a store, a

13      brick-and-mortar store?

14      A.     Yes.    I believed they all did have brick-and-mortar stores,

15      yes.

16      Q.     Now, on July 22nd, the sale to Kondo in the Winco parking

17      lot?

18      A.     Mm-hmm, yes.

19      Q.     If Kondo hadn't called you, would have you -- I believe you

20      testified you were on your way.

21      A.     Yes.    To buy the guns at Larry's, yes.

22      Q.     Literally on your way?

23      A.     Literally on my way.

24      Q.     Did your -- did your decision about what to purchase change

25      based on your conversation with the agent?
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1       A.    No.    I was going to buy no matter -- I was going to buy

2       whatever Hi-Points he had if I could afford them all, yes.        And

3       I did buy all of them.

4       Q.    So your conversation with Agent Kondo didn't change your

5       any -- your plan about what you were going to do?

6       A.    Oh, heavens, no.     I wanted to get all the 9-millimeters and

7       .380s I could get because they were neat little guns.

8                    MS. FYFFE:    I don't believe I have any other further

9       questions.

10                   MR. ATWOOD:   No.   Thank you, Your Honor.

11                   THE COURT:    No further questions?

12                   MR. ATWOOD:   No.

13                   THE COURT:    Very good.   That will be a good breaking

14      point, then.

15            Mr. Clyne, you may step down.

16            (End partial transcript.)

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1                         CERTIFICATE OF OFFICIAL REPORTER

2

3

4

5

6                   I, Tamara Hohenleitner, Federal Official Realtime

7       Court Reporter, in and for the United States District Court for

8       the District of Idaho, do hereby certify that pursuant to

9       Section 753, Title 28, United States Code, that the foregoing

10      is a true and correct transcript of the stenographically

11      reported proceedings held in the above-entitled matter and that

12      the transcript page format is in conformance with the

13      regulations of the Judicial Conference of the United States.

14

15                              Dated this 12th day of July, 2017.

16

17

18                              /S/ TAMARA I. HOHENLEITNER
                                _____________________________
19                              TAMARA I. HOHENLEITNER, CSR NO. 619, CRR
                                FEDERAL OFFICIAL COURT REPORTER
20

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22

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